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                               IN THE UNITED STATES BANKRUPTCY COURT
                                    FOR THE DISTRICT OF DELA~'VARE

  ------------------------------------------------------------------~ x

  In re:                                                             ~         Chapter• 11

            YU~TING JIA,                                                       Case No. 19-[

                                           Debtor.
                                                                     x


                        DEBTOR'S PREPACKAGED PLAN OF REORGANIZATIOl~
                          UNDER CHAPTER 11 OF THE BANKRUPTCY CODE


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                                            INTRODUCTION

                 Yueting Jia as a debtor and debtor in possession (the "Debtor" ot~ "YT") proposes, and is
 the proponent of, this chapter 11 plan of reorganization. The Planl provides for the reorganization of the.
 Debtor under chapter 11 of the Bankruptcy Code. As set forth below and described in the Disclosure
 Statement, under the Plan:

                • Holders of Allowed Adminish•ative Expense Claims, Priority Tax Claims, Priority
                  Non-Tax Claims, and U.S. Secured Claims are paid in full;
                • Holders of Allowed Debt Claims receive their Pro Rata distribution of the Trust
                  Interests;
                • the Debtor and the Reorganized Debtor will irrevocably and unconditionally release,
                  waive, and discharge any Claims of• Causes of Action that they have, had, or may
                  have that are based on sections 544, 547, 548, 549, and/or 550 of the Bankruptcy
                  Code and analogous non-bankruptcy law for all purposes; and
                • the Debtor and certain Persons and Entities (the Releasing Parties) release certain
                  Persons and Entities (the Released Panties).

                 Holders of Claims should refer to the Disclosure Statement for a discussion of the
 Debtor's history, business interests, assets, financial information, as well as a summary and
 description of the Plan. Before voting to accept or reject the Plan, holders of Claims entitled to vote
 on the Plan are encouraged to read carefully the Plan, the Disclosure Statement, and their
 respective exhibits and schedules in their entirety. These are the only materials approved for use in
 soliciting acceptances or rejections of the Plan.

                                           ARTICLE I
                                DEFINITIONS AND INTERPRETATION

         1.1.    Definitions.

                As used in this Plan, capitalized terms have the meanings set forth in this Article I (such
 meanings applicable to the singular and plural):

         1.      2019 Equity Incentive Plan has the meaning set forth in Article 6.2(j) ofthe Plan.

         2.      Additional Trust Expenses has the meaning set forth in Article 6.2(g) ofthe Plan.

        3.       Administrative Expense Claim means a Claim for a cost or expense of administration of
the Estate under sections 503(b)(including Claims arising under section 503(b)(9)), 507(a)(2), or 507(b)
of the Bankruptcy Code, including (a) any actual and necessary cost and expense of preserving the Estate
incurred after• the Petition Date and through the Effective Date; (b) any indebtedness or obligations
incurred or assumed by the Debtor after the Petition Date and through the Effective Date;(c) any Allowed
compensation for professional services rendered, and Allowed reimbursement of expenses incurred, by a
Professional retained by order of the Bankruptcy Court or otherwise Allowed pursuant to section 503(b)
of the Bankruptcy Code; and (d) all fees due and payable pursuant to section 1930 of title 28 of the U.S.
Code.

         4.      Atlministrutive Expense Claim Bar Date means the first Business Day that is 30 days
after the Effective Date.


'Capitalized terms are as defined in Article 1 below.
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         5.       Allowed means, with respect to any Claim, such Claim or pot-tion thereof against or in the
Debtor:(a) that has been listed by the Debtor in the Schedules as liquidated in amount and not disputed or
contingent and for which no contrary proof of claim has been filed; (b) as to which the deadline for
objecting or seeking estunation has passed, and no objection or request for estimation has been filed;
(c) as to which any objection or request for estimation that has been filed has been settled, waived,
withdrawn, or denied by a Final Order; or (d)that is allowed pursuant to the terms of(i) a Final 03•der,
(ii) an agreement by and among the holder of such Claim and the Debtor or the Reorganized Debtor, as
applicable, or (iii) the Plan.

        6.       Allowed DeGt Clainz Allocation Amount means the Allowed amount of a Debt Claim
 excluding the amount of any unpaid interest, penalty interest, expenses, and any other fees related thereto.

         7.       Allowed Deht Claim Distribution Amount means the amount of an Allowed Debt Claim
Allocation Amount minzss tl~e sum of(a) the amount the holder of such Allowed Debt Claim will receive
from the primary obligar~ of such Claim plus (b)the amount such holder will receive upon the disposition
of any assets in any jurisdiction that(i) have ah•eady been collateralized by the Debtor or any other Person
or Entity,(ii) have already been pledged by the Debtor or any other Person or Entity, and (iii) the Debtor,
his wife Wei Gan, or any other Person or Entity own that have been seized, attached, or frozen by Chinese
judiciary authorities plus (c) if the primary debt obligation is satisfied by conversion to equity in any
jm•isdiction, the corresponding reduction in the amount of the holder's Allowed Debt Claim on account of
such conversion.

         8.      BalPot means the form distributed to each holder of an Impaired Claim that is entitled to
vote to accept or reject the Plan, on which such holder shall indicate acceptance or rejection ofthe Plan.

        9.       Banlr~uptcy Cole means title 11 ofthe United States Code, 11 U.S.C. §§ 101-1532.

        10.     Bankruptcy Court means the United States Bankruptcy Court for the District of
Delaware, or such other court having jurisdiction over the Chapter 11 Case or any proceeding within, or
appeal of an order entered in, the Chapter 11 Case.

       11.    Bankruptcy Rules means the Federal Rules of Bankruptcy Procedure, the Official
Bankruptcy Forms, or the local rules ofthe Bankruptcy Court.

         12.    Bar Date means the deadline to be set by the Bankruptcy Court to file proofs of claim
against the Debtor in the Chapter 11 Case.

        13.      Business Day means any day, other than a Saturday, Sunday, or "legal holiday"
(as defined in Bankruptcy Rule 9006(a)).

        14.      Cash means legal tender• ofthe United States of America and equivalents thereof.

         15.     Causes of Action means any action, claim, cause of action, controversy, demand, right,
action, lien, indemnity, guaranty, suit, obligation, liability, damage, judgment, account, defense, offset,
power, privilege, license, and franchise of any kind or character whatsoever, whether known or unknown,
contingent or non-contingent, matured or unmatured, suspected or unsuspected, liquidated or
unliquidated, disputed or undisputed, secured or unsecured, assertable directly or derivatively, whether
arising before, on, or after the Petition Date, in contract or in tort, in law, or in equity, or pursuant to any
other theot•y of law. For' the avoidance of doubt, "Cause of Action" includes: (a) any right of setoff,
counterclaim, or recoupment and any claim for breach of contract ar for breach of duties imposed by law
or in equity;(b)the right to object to Claims; (c) any Claim pursuant to section 362 or chapter 5 of the
Bankruptcy Code; (d)any equitable remedy, including, without limitation, any claim for equitable



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subordination, equitable disallowance, or unjust enrichment; (e) any claim or defense including fraud,
mistake, duress, and usury, and any other• defenses set forth in section 558 of the Bankruptcy Code; and
(~ any cause of action or claim at•ising under• any state or foreign fraudulent transfer law.

         1.6.    Chapter II Case means tl~e case under chapter 11 of the Bankruptcy Code commenced
 by the Debtor in the Bankruptcy Court.

           17.   Claim means a claim, as defined in section 101(5) of the Bankruptcy Code, against the
 Debtor.

         18.     Class means a category of Claims established under Article III of the Plan pursuant to
 sections 1122 and ll23(a)(1) ofthe Bankruptcy Code.

        19.     Confirmation Date means the date upon which the Bankruptcy Court enters the
 Confirmation Order on the docket ofthe Chapter l 1 Case.

       20.      Confirmation Hearing means the hearing to be held by the Bankruptcy Court to consider
confirmation of the Plan under section 1129 of the Bankruptcy Code, as such hearing may be continued
from time to time.

       21.       Confirmation Order means the order of the Bankruptcy Court confirming the Plan
pursuant to section 1129 ofthe Bankruptcy Code, and granting other related relief.

           22.   Creditor Extension Term has the meaning set forth in Article 6.2(~ ofthe Plan.

           23.   Creditor Trust has the meaning set forth in Article 6.2 ofthe Plan.

           24.   Creditor Trust Committee has the meaning set forth in Article 6.2(e) ofthe Plan.

           25.   Cure Amount has the meaning set forth in Article 9.3(a) ofthis Plan.

           26.   Cure Dispute has the meaning set forth in Article 93(c) ofthis Plan.

        27.      Cure Schedule has the meaning set fot-th in Article 9.3(b) of this Plan.

       28.     DeGt Claim means any Claim against the Debtor that is (a) not an Administrative
Expense Claim, Priority Tax Claim, Priority Non-Tax Claim, or U.S. Secured Claim or (b) otherwise
determined by the Bankruptcy Court to be a Debt Claim.

        29.      Debtor has the meaning set forth in the Introduction.

        30.     Dzsallowerl means, with respect to any Claim, a Claim or any portion thereof that is not
Allowed and (a) has been disallowed by a Final Order, (b) is listed in the Schedules as zero or as
contingent, disputed, or unliquidated and as to which no proof of claim or request for payment of an
Administrative Expense Claim has been timely filed or deemed timely filed with the Bankruptcy Court,
(c)is not listed in the Schedules and as to which no proof of claim or request for payment of an
Administrative Claim has been timely filed or• deemed timely filed with the Bankruptcy Court,(d) has
been withdrawn by agreement of the Debtor and the holder thereof, or (e) has been withdrawn by the
holder thereof

        31.      Discharge Date means the date upon which the Court grants the Debtor a discharge upon
the earlier of: (i) distribution of the Trust Interests to the holders of Allowed Debt Claims and (ii) all
Allowed Claims shall have been paid under the Plan.
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          32.     Disclosure Statement means that wl•itten disclosure statement, dated October 10, 2019,
 relating to the Plan, including, without limitation, all exhibits and schedules thereto, as the same may be
 amended, modified, or supplemented from time to time, as approved by the Bankruptcy Court pursuant to
 sections 1125 and 1126(b) of tl~e Bankruptcy Code.

         33.     Disputed Clczim means a Claim that is not yet Allowed.

          34.     DistriGution Record Date means the record date for purposes of making distributions
 under• the Plan on account of Allowed Claims, which date shall be the date of the commencement of the
 Confirmation Hearing.

         35.     Distribution Waterfall means the distribution waterfall set forth in Article 6.2(i) of this
 Plan.

       36.     Domestic Sr~pport Obligations means a domestic support obligation, as defined in section
101(14A) of the Bankruptcy Code, as such obligations may be modified from time to time by a couirt of
competentjurisdiction.

        37.      Effective Date means, with respect to the Plan, the Business Day selected by the Debtor•
on which (a) no stay of the Confirmation Order is in effect,(b)the conditions to the effectiveness of the
Plan specified in Article 10.2 have been satisfied or waived (in accordance with Article 10.3), and (c)the
Debtor• declares the Plan effective.

         38.     Entity has the meaning set forth in section 101(15) ofthe Bankruptcy Code.

       39.     Estate means the estate of the Debtor created pursuant to section 541 of the Bankruptcy
Code upon the commencement of the Chapter 11 Case.

         40.     Final Order means an order or judgment entered by the Bankruptcy Court or other court
of competentjurisdiction:(a) that has not been reversed, stayed, modified, amended, or revoked, and as to
which (i) any right to appeal or seek leave to appeal, certiorari, review, reargument, stay, or rehearing has
been waived or (ii) the time to appeal or seek leave to appeal, certiorari, review, reargument, stay, or
rehearing has expired and no appeal, motion for leave to appeal, or petition for certiorari, review,
reargument, stay, or• rehearing is pending or (b) as to which an appeal has been taken, a motion for leave
to appeal, or petition for• certiorari, review, reargument, stay, or reheating has been filed and (i) such
appeal, motion for leave to appeal or petition for certiorari, review, reargument, stay, or rehearing has
been resolved by the highest court to which the order or judgment was appealed or from which leave to
appeal, certiorari, review, reargument, stay, or rehearing was sought and (ii) the time to appeal (in the
event leave is granted), appeal further or seek leave to appeal, certiorari, further review, reargument, stay,
or rehearing has expit•ed and no such appeal, motion for leave to appeal, or• petition for certiorari, further
review, reargument, stay, or rehearing is pending; provided, however•, that no order• or judgment shall fail
to be a "Final Order" solely because of the possibility that a motion pursuant to sections 502(j) or 1144 of
the Bankruptcy Code, rules 59 or 60 of the Federal Rules of Civil Procedure, or Banla~uptcy Rules 9023
or 9024 may be filed with respect to such order or judgment.

         41.    Funding Source has the meaning set forth in Article 6.2(a) ofthe Plan.

       42.     Impaired means, with respect to a Class of Claims, a Class that is impaired within the
meaning of section 1124 ofthe Bankruptcy Code.

         43.    Initial Teem has the meaning set forth in Article 6.2(~ ofthe Plan.
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         44.     Initial Trust Expenses has the meaning set forth in Article 6.2(g) of the Plan.

         45.     IPO has the meaning set forth in Article 6.2(h) of the Plan.

          46.     Late Filed Debt Claim means a Debt Claim filed after• the Bar Date but before the
 occurrence of a Distribution Event that is recognized by YT, in his sole discretion, and in an amount to be
 verified by the Trustee.

         47.     Late Filed Debt Claims Reserve has the meaning set forth in Article 6.2 of the Plan.

         48.     Lien means a lien as defined in section 101(37) ofthe Bankruptcy Code.

         49.     Liquidity Event has the meaning set forth in Article 6.2(fj ofthe Plan.

         50.     Marketable Securities has the meaning set forth in Article 6.2(h) ofthe Plan.

         51.     Person means person as defined in section 101(41) ofthe Bankruptcy Code.

      52.     Petition Date means the date on which the Debtor filed his petition for relief
commencing the Chapter 11 Case.

        53.     Plan means this prepackaged plan of reorganization under chapter• 11 of the Bankruptcy
Code, including the exhibits and schedules hereto and the Plan Supplement, as may be amended,
supplemented, or modified from time to time in accordance with the Bankruptcy Code, the Bankruptcy
Rules, and the terms hereof.

       54.      Plan Distribution means a payment or distribution under the Plan to holders of Allowed
Claims or other eligible Entities.

        55.      Pl~rn Supplement means the compilation of documents (or forms or summary of material
terms thereofl, schedules, and exhibits to the Plan.(in each. case as may be altered, amended, modified, or
supplemented from time to time in accordance with the terms hereof and in accordance with the
Bankruptcy Code and the Bankruptcy Rules) to be filed no later than five (5) days before the Voting
Deadline or such later date as the Bankruptcy Court may approve, including: (a) form and/or• definitive
agreements and related documents with respect to the Trust Agreement; and (b) the Schedule of Rejected
Contracts and Leases.

        56.     Priority Non-Tax Claim means any Claim entitled to priority in right of payment under
section 507(a) of the Bankruptcy Code that is not an Administrative Expense Claim or a Priority Tax
Claim.

        57.     Priority Tax Claim means any Claim entitled to priority in payment as specified in
section 507(a)(8) ofthe Bankruptcy Code.

         58.    Pro Ruta means the proportion that an Allowed Claim in a pal-ticular Class bears to the
aggregate amount of Allowed Claims in that Class, or the proportion that Allowed Claims in a particular
Class bear to the aggregate amount of Allowed Claims in a particular Class and other Classes entitled to
share in the same recovery as such Allowed Claim under the Plan.

        59.     Professional means an Entity (a) employed in the Chapter 11 Case pursuant to sections
327, 328, 363, or 1103 of the Bankruptcy Code or otherwise, or (b)seeking or awarded compensation or
reimbursement of expenses in connection with. the Chapter 11 Case pursuant to section 503(b)(4) of the
Bankt•uptcy Code.
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        60.      Released Parties means, collectively,(a)the Debtor and the Estate;(b) the Debtor's wife,
Wei Gan; (c) all Persons engaged or retained by the Debtor in connection with the Chapter 11 Case
(including in connection with the preparation of and analyses relating to the Disclosure Statement and the
Plan); and (d) any and all advisors, attorneys, actuaries, financial advisors, accountants, investment
banker's, agents, professionals, and representatives of each of the foregoing Persons and Entities (whether
current or former, in each case in his, her, or its capacity as such).

        61.     Releasing Prirties means, collectively, and each solely in its capacity as such: (a) each
 Released Party;(b)each holder of a Claim that either (i) votes to accept the Plan or (ii) is conclusively
 deemed to have accepted the Plan; and (c) all other holders of Claims to the extent permitted by law.

         62.      Reorganized Debtor means the Debtor as reorganized under the Plan, and any successor
 thereto on or after the Effective Date.

        63.     Retained Actions has the meaning set forth in Article 8.3 ofthe Plan.

         64.   Schedule ofRejected Contracts and Leases means a schedule of the executory contracts
 and unexpired leases to be rejected pursuant to section 365 of the Bankruptcy Code and Article 9.1
 hereof.

        65.      Schedules means the schedules of assets and liabilities to be filed by the Debtor on or
after the Petition Date as required by section 521 of the Bankruptcy Code and Banlauptcy Rule 1007,
including any supplements or amendments thereto through the Confirmation Date.

       66.     Securities Act means the Securities Act of 1933, and all rules and regulations
promulgated thereunder.

        67.     Smart King has the meaning set forth in Article 6.2 of the Plan.

        68.     Smart King Shares has the meaning set forth in Article 6.2 of the Plan.

        69.      Trust has the meaning set forth in Article 6.2 of the Plan.

        70.     Trust Agreement means that certain Trust Agreement, by and among, the Debtor and the
Trustee, on substantially similar terms as described in the Trust Agreement Term sheet. A form of the
Trust Agreement will be included in the Plan Supplement.

        71.      Trust Agreement Term Sheet means that certain Trust Agreetnent Term Sheet attached
as Exhibit A to the Disclosure Statement.

        72.     Trust Assets has the meaning set forth in Article 6.2(a) ofthe Plan.

         73.    Trust Election means the election by a holder of an Administrative Expense Claim,
Priority Tax Claim, Priority Non-Tax Claim, or U.S. Secured Claim to receive their pro rata share of the
Trust Assets pursuant to the Distribution Waterfall in lieu of their assigned recoveries under the Plan.

        74.     Trust Expense Funded Amount has the meaning set forth in Article 6.2(g) of the Plan.

        75.     Trust Interest has the meaning set forth in Article 6.2 of the Plan.

        76.     Trustee has the meaning set forth in Article 6.2(d) ofthe Plan.
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         77.     Unimpc~ire~l means, with respect to any Claim, or a Class of Claims, that is unimpaired
 within the meaning of section 1124 of the Bankruptcy Code.

          78.     U.S. Secured Cluim means a Claim against the Debtor that is secured by a valid,
 unavoidable, perfected, and enforceable Lien on, or security interest in, property of the Debtor located in
 the United States, oi• that leas the benefit of rights of setoff under section 553 of the Bankruptcy Code, but
 only to the extent of the value of the holder's interest in the Debtor's interest in such property, or to the
 extend of the amount subject to setoff, the value of which shall be determined as provided in section 506
 of the Bankruptcy Code.

         79.      U.S Trustee means the United States Trustee for the District of Delaware.

         80.      T~otzng Agent means Epiq Corporate Restructuring LLC.

         81.      Voting Dearllit2e means 5:00 p.m.(Beijing Time)on November 8, 2019.

         82.      West Coast has the meaning set forth in Article 6.2 of the Plan.

         83.      West Coast Interests has the meaning set fot-th in Article 6.2 ofthe Plan.

         84.      YT Extension Expenses has tl~e meaning set forth in Article 6.2(g) ofthe Plan.

         85.      YT Extension Term has the meaning set forth in Article 6.2(fl ofthe Plan.

         1.2.    Interpretation, Application ofDefinitions, and Rules of Construction.

                 (a)      For purposes of the Plan and unless otherwise specified herein (i) the rules of
construction set forth in section 102 of the Bankruptcy Code shall apply; (ii) any term that it not defined
herein, but that is used in the Bankruptcy Code or Bankruptcy Rules, shall have the meaning given to the
term in the Bankruptcy Code or Bankruptcy Rules, as applicable; (iii) any reference in the Plan to an
existing document, schedule, or exhibit, whether or not filed with the Bankruptcy Court, shall mean such
document, schedule, or exhibit, as it may have been or• may be amended, modified, or supplemented;
(iv) any reference to an Entity as a holder of a Claim includes that Entity's permitted successors and
assigns; and (v) all references to statutes, regulations, orders, rules of courts, and the like shall mean as
amended from time to time, as applicable to the Chapter 11 Case, unless otherwise stated.

                (b)    In computing any period of time prescribed or• allowed by the Plan, tl~e
provisions of Bankruptcy Rule 9006(a) shall apply.

                (c)      All references in the Plan to monetary figures refer to currency of the United
States of America.

                                             ARTICLE II
                                        UNCLASSIFIED CLAIMS

                   In accordance with section 1123(a)(1) of the Bankruptcy Code, Administrative Expense
Claims, Priority Tax Claims, and Domestic Support Obligations have not been. classified for purposes of
voting or receiving distributions. Rather, all such Claims ai•e treated separately as unclassified Claims as
set forth in this Article II, and the holders thereof are not entitled to vote on the Plan.




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         2.1     A~Iministtutive Expense Claims.

                (a)       Filing Administrative expense Claims. The holder of an Administrative Expense
 Claim, other than (i) a Claim covered by Article 2.2, (ii) a liability incurred and payable in the ordinary
 course of business by the Debtor after the Petition Date, (iii) timely filed and Allowed Claims arising
 under section 503(b)(9) of the Bankruptcy Code; or (iv) an Administrative Expense Claim that has been
 Allowed on or before the Administrative Expense Claim Bar Date, must file and serve on the
 Reorganized Debtor a request for payment of such Administrative Expense Claim so that it is received no
 later than the Administrative Expense Claim Bar Date pursuant to the procedures specified in the
 Confirmation Order and the notice of the Effective Date. Holders required to file and serve, who fail to
 file and serve, a request for payment of Administrative Expense Claims by the Administrative
 Expense Claim Bar Date shall be forever barred, estopped, and enjoined from asserting such
 Administrative Expense Claims against the Debtor or Reorganized Debtor and their property, and
 such Administrative Expense Claims shall be deemed discharged as of the effective Date. All such
 Claims shall, as of the Effective Date, be subject to the permanent injunction set forth in Article
 11.6 hereof. Notwithstanding the foregoing, pursuant to section 503(b)(1)(D) of the Bankruptcy Code,
 no govermnental unit shall be required to file a request for payment of any Administrative Expense Claim
 of a type described in sections 503(b)(1)(B) or 503(b)(1)(C) of the Bankruptcy Code as a condition to
 such Claim being Allowed.

                  (b)       Allowance of Administrative Expense Claims. An Administrative Expense
 Claim, with respect to which a request for payment has been properly and timely filed pursuant to Article
 2.1(a) shall become an Allowed Administt•ative Expense Claim if no objection to such request is filed
 with the Bankruptcy Court and served on the Debtor and the requesting party on or before the one-
 hundred twentieth (120th) day after the Effective Date, as the same tnay be modified or extended by order
 of the Bankruptcy Court If an objection is timely filed, the Administrative Expense Claim shall become
 an Allowed Administrative Expense Claim only to the extent allowed by Final Order or as such Claim is
 settled, coinprotnised, or• otherwise resolved pursuant to Article 8.3.

                 (c)     Payment of Allowed Administrative Expense Claims. Except to the extent that
an Adtninistrative Expense Claim has already been paid during the Chapter 11 Case, the holder of an
 Allowed Administrative Expense Claim agrees to a less favorable treatment, or the Holder of an Allowed
Administrative Expense Claim makes a Trust Election, and except as provided in Article 2.2, each. holder
of an Allowed Administrative Expense Claim against the Debtor shall receive, in full and complete
settlement, release, and discharge of such Claim, Cash equal to the unpaid amount of such Allowed
Administt•ative Expense Claim on the latest of(i) the Effective Date or as soon thereafter as reasonably
practicable; (ii) 30 days after the date on which such Administrative Expense Claim becomes Allowed;
(iii) the date on which such Administrative Expense Claim becomes due and payable in the ordinary
course of tl~e Debtot•'s business in accordance with the terms and subject to the conditions of any
agreements oz• understandings governing, or other documents relating to, such Allowed Administrative
Expense Claim; and (iv) such other date as may be agreed to by such holder and the Debtor or
Reorganized Debtor.

        2.2     Professional Fees.

               (a)       Final Fee A~lications. Each Professional requesting compensation pursuant to
sections 327, 328, 330, 331, 363, 503(b), or 1103 of the Bankt•uptcy Code for services rendered in
connection with the Chapter 11 Case before the Effective Date shall (i) file with the Banla•uptcy Court,
and serve on the Reorganized Debtor, an application for allowance of final compensation and
reimbursement of expenses in the Chapter• 11 Case on or before the forty-fifth (45th) day following the
Effective Date, and (ii) after• notice and a bearing in accordance with the procedures established by the
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 Bankruptcy Code and Bankruptcy Rules and any prior orders of the Bankruptcy Court in the Chapter 11
 Case, be paid in full, in Cash, in such amounts as are Allowed.

                  (b)     Ordinary Course Professional Fees and Expenses. The ilmnediately preceding
 paragraph shall not affect any professional-service Entity that is permitted to receive, and the Debtor• is
 pet•mitted to pay, without seeking fin-ther authority from the Bankruptcy Court, compensation for• services
 and reimbursement of professional fees and expenses in the ordinary course of business (and in
 accordance with any relevant prior order• of the Bankruptcy Court), the payments for• which may continue
 notwithstanding the occurrence of confirmation ofthe Plan.

                   (c)      Post-Effective Date Fees and Expenses. From and after the Effective Date, the
 Reorganized Debtor may, upon submission of appropriate documentation. and in the ordinary course of
 business, pay the post-Effective Date charges incurred by the Reorganized Debtor' for any Professional's
 fees, disbursements, expenses, or related support services without application to or approval from the
 Bankruptcy Court. On the Effective Date, any requirement that Professionals comply with sections 327
 tivough 331 and 1103 ofthe Bankruptcy Code in seeking retention or compensation for services rendered
 after such. date shall terminate, and the Reorganized Debtor may employ and pay any Professional for fees
 and charges incut•red from and after the Effective Date in the ordinary course of business without any
 notice to or approval of the Bankruptcy Court.

         2.3     Priority Tax Claims.

                Except to the extent that a holder• of an Allowed Priority Tax Claim agrees to a less
favorable treatment, each holder of an Allowed Priority Tax Claim against the Debtor shall receive, in full
and complete settlement, release, and discharge of such Claim, Cash equal to the unpaid amount of such
Allowed Priority Tax Claim on the latest of(a) the Effective Date or as soon thereafter as reasonably
practicable;(b)30 days after• the date on which such Priority Tax Claim becomes Allowed;(c)the date on
which such Priority Tax Claim becomes due and payable; and (d)such other date as may be mutually
agreed to by and among such holder and the Debtor or Reorganized Debtor; provided, howeveY, that the
Reorganized Debtor shall be authorized, at his option, and in lieu of payment in full, in Cash, of an
Allowed Priority Tax Claim as provided above, to snake deferred Cash payments on account thereof in
the manner and to the extent permitted under section 1129(a)(9)(C) ofthe Bankruptcy Code.

        2.4      Domestic Support Obligations.

                  On the Effective Date, the Debtor shall make any payments to comply with any
postpetition unfunded obligations on account of any Domestic Support Obligations, if any such
obligations exist, as may be required for the Debtor to be current with respect to such Domestic Support
Obligations as of the Effective Date pursuant to section 1129(a)(14) of the Bankruptcy Code. After the
Effective Date, the Debtor shall. timely make all payments on account of Domestic Support Obligations to
the parties entitled to receive such payments, if any such obligations exist, in each case at the times and in
the amounts required by the agreements and orders evidencing such Domestic Support Obligations, as
such agreements may from time to time be modified in accordance with applicable law.

                                           ARTICLE III
                                    CLASSIFICATION OF CLAIMS

                The following table designates the Classes of Claims against the Debtor, and specifies
which Classes are (a)Impaired or Unimpaired; (b) entitled to vote to accept or reject the Plan in
accordance with section 1126 of the Bankruptcy Code; and (c) deemed to accept the Plan. A Claim ar
portion thereof is classified in a particular Class only to the extent that such Claim or portion thereof
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 qualifies within the description of such Class and is classified in a different Class to the extent that the
 portion of such Claim qualifies within tl~e description of such different Class.

         3.1     Class Identification.

                 Claims against the Debtor are classified as follows:

 Class                   Description                     Impairment                Entitled to Vote

    1     Priority Non- Tax Claims                        Unimpaired            No(deemed to accept)
   2      U.S. Secured Claims                             Unimpaired            No(deemed to accept)
   3      Debt Claims                                      Impaired                      Yes

                                              ARTICLE IV
                                         TREATMENT OF CLAII~'IS

         4.1     Priority Non-Tax Claims (Class I).

                (a)      Classification. Class 1 consists of all Priority Non-Tax Claims.

                 (b)      Treatment. Except to the extent that a holder of an Allowed Priority Non-Tax
Claim agrees to less favorable treatment or makes a Trust Election, on the Effective Date or as soon
thereafter as practicable, each holder of an Allowed Priority Non-Tax Claim shall receive, at the option of
the Debtor and in full and complete settlement, release, and discharge of, and in exchange for, such Claitn
(i) payment in full in Cash; or (ii) other treatment rendering such Claim Unimpaired. Any Allowed Class
1 Claitn not due and owing on the Effective Date shall be paid in full, in Cash, when it becomes due and
owing.

                (c)     Impairment and Voting. Class 1 is Unimpaired. Holders of Claims in Class 1
are conclusively presumed to have accepted the Plan pursuant to section 1126(fj of the Bankruptcy Code,
and accordingly, are not entitled to vote to accept or reject the Plan.

         4.2     U.S. Secured Claims(Class 2).

                (a)      Classification. Class 2 consists of all U.S. Secured Claims.

                 (b)      Treatment. Except to the extent that a holder of an Allowed U.S. Secured Claim
agrees to less favorable treatment or makes a Trust Election, on the Effective Date or as soon thereafter as
practicable, each holder of an Allowed U.S. Secw•ed Claim shall receive, at the option of the Debtor and
in full and complete settlement, release, and discharge of, and in exchange for, such Claim (i) payment in
full in Cash; (ii) delivery of collateral securing any such Claim; (iii) reinstatement pursuant to section
1124 of the Bankruptcy Code; or (iv) other treatment rendering such Claim Unimpaired.

                (c)     Impairment and Voting. Class 2 is Unimpaired. Holders of Claims in Class 2
are conclusively presumed to have accepted the Plan pursuant to section 1126(fl of the Bankruptcy Code,
and accordingly, are not entitled to vote to accept or reject the Plan.




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         4.3     DeGt Claims (Class 3).

                (a)      Classifcation. Class 3 consists of all Debt Claims.

                (b)      Treatment. Except to the extent that a holder of an Allowed Debt Claim agrees
to less favorable treatment, each holder of an Allowed Debi Claim shall receive, in full and complete
settlement, release, and discharge of, and in exchange for, such Claim, its Pro Rata share of the Trust
Interests, which distribution shall be made in accordance with Article 6.2 ofthe Plan.

                 (c)      Impait•ment and Voting. Class 3 is Impaired. Holders of Claims in Class 3 are
entitled to vote to accept or reject the Plan.

                                      ARTICLE V
                          ACCEPTANCE OR REJECTION OF THE PLAN

        5.1      Class Acceptance Requirement.

                 Pursuant to section 112b(c) of the Bankruptcy Code, and except as otherwise provided in
section. 1126(e) of the Bankruptcy Code, an Impaired Class of Claims shall have accepted the Plan if it is
accepted by at least two thirds (2/3) in dollar amount and more than one-half(1/2) in number of holders
of the Allowed Claims in such Class that have voted on the Plan.

        5.2     Deemed Acceptance by Non-Voting Classes.

                If a Class contains Claims eligible to vote and no holder of a Claim eligible to vote in
such Class votes to accept or reject the Plan, the Plan shall be deemed accepted by such Class.

        5.3     Elimination of i~acant Classes.

                  Any Class of Claims that does not have at least one holder of an Allowed Claim or a
Claim tempararily Allowed as of the date of the Confirmation Hearing shall be deemed eliminated from
the Plan for purposes of voting to accept or reject the Plan and for purposes of determining acceptance or•
t~ejection ofthe Plan pursuant to section 1129(a)(8) of the Bankruptcy Code.

        5.4     Confirmation Pursuant to Section I129(b) ofthe Banlrruptcy Code.

                 Section 1129(b) ofthe Bankruptcy Code provides for confirmation (or "cram-down") of a
plan of reorganization even if the plan is not accepted or deemed accepted by all impaired classes of
claims, as long as at least one impaired class of claims has voted to accept the plan and certain other
requirements are met. Subject to Article 13.7 of the Plan, the DeUtor reserves the right to alter, amend,
modify, revoke, or withdraw this Plan or any related document in order to satisfy the requirements of
section 1129(b) of the Bankruptcy Code. The Debtor also reserves the right to request confirmation ofthe
Plan, as it may be modified, supplemented, or amended from time to time, with respect to any Class that
affirmatively votes to reject the Plan.

                                      ARTICLE VI
                         MEANS FOR IMPLEMENTATION OF THE PLAN

        6.1     Compromise of Controversies.

              In consideration for the Plan Distributions, releases, and other benefits provided under• the
Plan, upon the Effective Date, the provisions of the Plan constitute a good faith compromise and


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 settlement of all Clauns and controversies relating to any Allowed Claim or any Plan Distribution to be
 made on account thereof or otherwise resolved under the Plan.

                 The Plan shall be deemed a motion to approve the good faith compromise and settlement
 of all such Claims and controversies pursuant to Bankruptcy Rule 9019, and the entry of the Confirtnation
 Order shall constitute the Bankruptcy Court's approval of such compromise and settlement under section
 1123 of the Bankruptcy Code and Bankruptcy Rule 9019, as well as a finding by the Bankruptcy Court
 that such settlement and compromise is fair, equitable, reasonable, and in the best interests of the Debtor
 and his Estate. All Plan Distributions made in accordance with the Plan are intended to be, and shall be,
 final.

         6.2     The Trust.

                 On or• after the Effective Date, the Debtor or the Reorganized Debtor shall(a)transfer the
economic interests in 90,588,235 units (representing 100% of the issued and outstanding units) of West
Coast LLC ("West Coast"), a Delaware limited liability company (the "West Coast Interests") and
(b)cause to be transferred 147,058,823 Class B Preferred Shares of Smatt King Ltd. ("Smart King"), a
company formed under the laws of the Cayman Islands, which, upon transfer, will automatically convert
into Class B Ordinary Shares on a one-to-one basis (the "Smart King Shares") to (i) the 2019 Creditor
Liquidating Trust for the benefit of holders of Allowed Debt Claims (the "Creditor Trust") and (ii) a trust
for the benefit of holders of Late Filed Debt Claims (the "Late Filed Debt Claims Reserve" and together
with the Creditor' Trust, the "Trust").

                 Each holder of an Allowed Debt Claim or Late Filed Debt Claim shall receive a
beneficial interest (a "Trust Interest") in the Creditor Trust or the Late Filed Debt Claims Reserve, as
applicable, based on the formulas set forth below. The Trust will preserve, hold, manage, and maximize
the Trust Assets (as defined below)for use in paying and satisfying the holders' Claims upon the earlier
to occur of(x)the consummation of a Liquidity Event or Distribution Event and (y)the termination of the
Trust in accordance with the Trust Agreement.

                (a)      Trust Assets.

                  The assets of the Trust shall consist of the following: (i) the economic interest in
90,588,235 units of West Coast (representing 100% of the issued and outstanding units of West Coast);
(ii) 147,058,823 Smart King Shares; and (iii) the Trust Expense Funded Amount contributed to the Trust
by a postpetition lender (the "Funding; Source") as provided in the Trust Agreement Term Sheet
(collectively, the "Trust Assets").

                (b)      Voting Rights With Respect to the Trust Assets.

                  The Trustee will exercise all voting rights with respect to the Smart King Shares as
directed by FF Top Holding Ltd.; pNovided that the exercise of such voting rights shall be in accordance
with (i) the organizational and governing documents of Smart King,(ii) such other agreements that are in
effect as of the date of the Trust Agreement (including the certain Fourth Amended and Restated
Memorandum and Articles of Association of Sma~^t King adopted as of May 15, 2019), and (iii) that
certain Restructuring Agreement, dated as of December 31, 2018, by and among Smart King, YT Season
Smart Limited, a company formed under the laws of the British Virgin Islands, and the other. parties
thereto, in each case, to the extent applicable.

                (c)     Late Filed Debt Claims Reserve.

                On the Effective Date, the Debtot~ shall transfer 10% of the West Coast Interests and


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 Smart King Shares respectively to the Late Filed Debt Claims Reserve for the benefit of holders of Late
 Filed Debt Claims. The Late Filed Debt Claims Reserve will have no operations otl~ej• than to make
 distributions to holders of Late Filed Debt Claims in accordance with the Distribution Waterfall and will
 be managed by the Trustee pursuant to a separate trust agreement with substantially similar governance
 teams as the Trust Agreement.

                   The Trustee shall have the right in its discretion to (i) exchange the Late Filed Debt
Claims Reserve's portion of the West Coast Interests and Smart King Shares for direct Trust Interests in
the Creditor Trust, which shall provide the beneficiaries of the Late Filed Debt Claims Reserve with the
same share of distributions they are otherwise entitled to receive under the Distribution Waterfall, and
(ii) distribute such Trust Intet•ests to the beneficiaries of the Late Filed Debt Claims Reserve in exchange
for their• beneficial interests in the Late Filed Debt Claims Reserve.

                In order for a holder of a Late Filed Debt Claim to receive a distribution from the Late
Filed Debt Claims Reserve, such holder must execute a full release of the Debtor and his wife Wei Gan
from personal liability on all claims in every jurisdiction. Any distribution to a Late Filed Debt Clalln
shall be from the Late Filed Debt Claims Reserve and holders of Late Filed Debt Claims shall have no
recourse against the Creditor Trust or the Debtor.

                (d)      Appointment of the Trustee.

                          On or after the Effective Date, one (1) trustee (the "Trustee") shall be appointed
 in accordance with the Trust Agreement, the identity of which shall be disclosed prior to confirmation of
the Plan. The Trust Agreement shall set foi-~h certain experience and independence criteria for the Trustee.
The Trustee shall act as a fiduciary and shall not be personally liable in connection with the affairs of the
Trust or• to any person except for such of the Tr'ustee's acts or• omissions that constitute fraud, willful
 misconduct, or gross negligence, as determined by a court of competent jurisdiction. In addition, the
Trustee shall be indemnified by the Trust against and held harmless by the Trust from any losses, claims,
damages, liabilities, or expenses (including without limitation, attot~tleys' fees, disbursements, and related
expenses) to which the Trustee may become subject in connection with any action, suit, proceeding, or
investigation brought or threatened against the Trustee in connection with any matter arising out of or
related to the Trust Agreement or the affairs of the Trust (other than. in respect of acts or omissions that
constitute fraud, willful misconduct, or gross negligence, as determined by a court of competent
jurisdiction). The Trustee shall be entitled to obtain customary fiduciary and/or errors and omissions
liability insurance and engage independent legal counsel and financial advisors to assist with its
evaluation of any matters with respect to the Trust, including any Liquidity Event.

         The Trustee shall be compensated by the Trust in an amount not to exceed $100,000 per annum
(unless approved by the Creditor Trust Committee). The Trustee shall be entitled to reimburse itself out
of any available cash in the Trust, for its actual out-of-pocket expenses and against and from any and all
loss, liability, expense, or damage, which the Trustee may sustain in good faith and without willful
misconduct, gross negligence, or fraud in the exercise and performance of any of the powers and duties of
the Trustee under the Trust Agreement.

       The Trustee may resign upon sixty (60) days' advance written notice to the Creditor Trust
Committee so long as a replacement trustee has been appointed.

                (e)      Creditor Trust Committee.

        Holders of Trust Interests will be represented by a committee that shall consist of a number of
holders of Allowed Debt Claims (the "Creditor Trust Committee"), the responsibilities and governance of
which are set forth in the Trust Agreement Term Sheet.


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                  (fl      Term ofthe Trust.

          The tet•m of the Trust will extend until the sixth (6th) anniversary of the effective date ofthe Trust
 Agreement (such six (6)-yeah period, the "Initial Term"). The Creditor Trust Committee may, upon
 delivery of wt•itten notice to the Trustee not later than ninety (90) days prior to the expiration of the Initial
 Term, elect to extend the Initial Term for up to three (3) additional one(1)-year periods (each, a "Creditor
 Extension Term") to allow for• orderly liquidation of an}~ remaining Trust Assets. Subject to the
 limitations set forth above, the Creditor Trust Committee may, upon delivery of written notice to the
 Trustee not later than ninety (90) days prior to the expiration of the then-current Creditor Extension Term,
 elect to extend such Creditor Extension Term.

                 If the completion of an IPO occurs during the Initial Term, the Debtor• may, upon
delivery of written notice to the Trustee and the Creditor Trust Committee not later than ninety (90) days
prior to the expiration of the Initial Term, elect to extend the Initial Term for up to three(3) additional one
(1)-yeah periods (each, a "YT Extension Term") in his sole discretion to liquidate any Smart King Shares
that t•emain unsold as ofthe expiration ofthe Initial Tetm.

                 The Trustee shall dissolve and wind up the Trust and distribution the Trust Assets upon
the expiration of(i) the Initial Term if no YT Extension Term or Creditor Extension Term is exercised or
(ii) the expiration of the applicable YT Extension Term or Creditor Extension Term, as applicable. The
Trustee may dissolve the Trust before the end of the Initial Term, any Creditor Extension Term, or any
YT Extension Term if: (x) all Allowed Debt Claim Distribution Amounts are fully paid and satisfied and
the Debtor has approved the dissolution of the Trust or (y) upon the liquidation, dissolution, or winding
up of Smart King(a "Liquidity Event"). Upon termination ofthe Trust, the Trustee will obtain a valuation
of the Trust Assets as of the termination date (performed by an independent valuation firm selected by the
Trustee and approved by the Creditor Trust Committee and the Debtor) and shall, as promptly as
practicable following the completion of the independent valuation, distribute the Trust Assets in kind to
the holders of Allowed Debt Claims in accordance with the distribution waterfall set forth on Exhibit A to
the Trust Agreement Term Sheet.

                 (g)      Expenses ofthe Trust.

                 On the effective date of the Trust Agreement, the Funding Sout•ce will contribute to the
Trust as part of the Trust Assets $600,000 in immediately available funds for the purposes offunding the
Trust's administration during the first three (3) yeat~s of the Initial Term, including for retaining
independent third party advisors (legal counsel, an independent registered accounting firm, and an
independent valuation firm, among others), compensating the Trustee, and paying such other fees and
expenses incidental to the management and administration of the Trust Assets during the first three (3)
years of the Initial Term. For each year during the Initial Term thereafter, no later than thirty (30) days
following the beginning of such year, the Funding Source shall contribute to the Trust as part of the Trust
Assets $200,000 in immediately available funds for the purposes of funding the Trust's administt•ation
dut•ing such year (the expenses refet•red to in this paragraph are referred to herein as the "Initial Trust
Expenses"). For purposes of clarification, in no event shall the Funding Source be required during the
Initial Term to contribute to the Trust as part ofthe Trust Assets more than $1,200,000.

                 In the event that the Debtor elects to extend the duration of the Trust beyond the Initial
Term pursuant to a YT Extension Term, the Funding Source will contribute to the Trust as part of the
Trust Assets $200,000 in immediately available funds for the purposes of funding the Trust's
administration during such YT Extension Term (such expenses, the "YT Extension Expenses"). In the
event that the Creditor Trust Committee elects to extend the duration ofthe Trust beyond the Initial Term,
the holders of Trust Interests shall obtain financing fot• the Trust in the amount of $200,000 in the



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 aggregate for each Creditor Extension Term (with each holder beaming his, her, or its pro rata share of
 such amount) for the purposes of funding the Trust's adminish~ation (the "Additional Trust Expenses"
 and, together with the Initial Trust Expenses and the YT Extension Expenses the "Trust Expense Funded
 Amount").

                 (h)      Distribution of Trust Assets.

          On or after• the completion of an initial public offering on the New York Stock Exchange,
 Nasdaq, the Hong Kong Stock Exchange, the London Stock Exchange, or any other• internationally
 recognized stock exchange with respect to the shares of outstanding capita] stock of Smat•t King or such
 other' relevant listing vehicle, as applicable (an "IPO"), the proceeds received by the Trust from (i) any
 disposition of Smart King Shares or (ii) dividends or distributions in respect of the Smart King Shares or
 the interest in West Coast (each, a "Distribution Event") will be distributed in accordance with the
 Distribution Waterfall upon the earlier of(i) sixty (60) days following the occurrence of such Distribution
 Event, and (ii) the termination ofthe Trust.

         The Trustee may delay or defer• the distribution of any proceeds (whether cash, securities, or other•
 property) received by the Trustee in respect of the Trust Assets if the Trustee determines that such
 deferral or delay is in the best interests of the holders of Trust Interests (including if(i)the Trust or the
 Trust Assets are bound by an injunction, freeze order,judgment, or similar order or proceeding affecting
 such distribution or (ii) such distribution would violate applicable law).

        The decision as to when and how much of the Trust Assets to dispose of after• an IPO will be
governed in accordance with the schedule attached as Exhibit B to the Trust Agreement Term Sheet, and
the Trustee will, in accordance with instructions in compliance with such schedule, sell, transfer, or•
otherwise dispose of any securities that are listed (the "Marketable Securities") in one or more open
market h•ansactions, private placement, or derivative transactions. The proceeds shall be distributed in
accordance with the Distribution Waterfall.

         At any tune upon the Debtor's request, the Trustee will distribute the Marketable Securities in
kind to the holdet•s of Trust Interests in lieu of any cash distribution. The value of the Marketable
Securities will be the average closing trading price for the five (5) consecutive trading days immediately
prior to the distribution.

                 (i)     Distribution Waterfall.

                  The Trust Assets of the Creditor Trust and the Late Filed Debt Claims Reserve shall be
distributed to the Funding Source, holders of eligible Claims that made a Trust Election, holders of the
Trust Interests, and the Debtor as follows:

                         (i)     First, pro rata from the Creditor Trust and the Late Filed Debt Claims
                                 Reserve, to the Funding Source, an amount equal to the amount
                                 contributed by the Funding Source during the Initial Term to provide for
                                 (x)the Initial Trust Expenses and (y)the YT Extension Expenses, if any;

                         (ii)     Second, pro rata from the Creditor Trust and the Late Filed Debt Claims
                                  Reserve, to each holder of Trust Interests, an amount equal to such
                                  holder's pro j•ata share ofthe Additional Trust Expenses, if any;

                         (iii)    Third, pro rata from the Creditor Trust and the Late Filed Debt Claims
                                  Reserve, to each holder• of an Administrative Expense Claim, Priority




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                                    Tax Claiin, Priority Non-Tax Claim, or U.S. Secured Claim that has
                                    made a Trust Election, equal to the Allowed amount of such Claim;

                            (iv)    Fourth, the remaining Trust Assets of the Late Filed Debt Claims
                                    Reserve, to holders of Late Filed Debt Claims, an amount equal to such
                                    holder's pro rata share of the remaining Trust Assets held in t11e Late
                                    Piled Debt Claims Reserve (after accounting for the distributions
                                    pursuant to clauses (i) through (iii) above, if any), until such holder has
                                    received aggregate distributions (in cash or in kind) pursuant to this
                                    clause (iv) equal to the lessor of (x) such holder's pro rata share of
                                    remaining Trust Assets that would be available to satisfy all Allowed
                                    Debt Claims and Late Filed Debt Claims; and (y)the full amount of such
                                    Late Filed Debt Claim as vef•ified by the Trustee;

                           (v)      Fifth, to the Creditor T3•ust, 1.00% of the amount of the r•etnaining Trust
                                    Assets held in the Late Filed Debt Claims Reserve (after• accounting for
                                    the distributions pursuant to clauses (i)through (iv) above), if any;

                            (vi)   Sixth, the Trust Assets remaining in the Creditor Trust after distributions
                                   pursuant to clauses (i) through (iii) above and contributions from clause
                                   (v) above, to holders of Allowed Debt Claims, an amount equal to such
                                   holder's pro rata sha3•e of the remaining proceeds held in the Creditor
                                   Trust, if any, until such holder has received aggregate distributions
                                   (in cash or in kind) pursuant to this clause (vi) equal to the amount of
                                   such holdet•'s Allowed Debt Claim Distribution Amount; and

                           (vii)   Seventh, to the Debtor, 100% of the amount of the remaining proceeds
                                   (after• accounting for the distributions pursuant to clauses (i), (ii), (iii),
                                   (iv), and (vi) above), if any.

                  (j)       2019 Equity Incentive Plan.

                In order to align incentives and reward the Debtor and other key members of
management in achieving Smart King's strategic goals, it is anticipated that Smart King will adopt a
management incentive equity plan subject to the consummation of the restructuring (the "2019 EquitX
Incentive Plan"). The board of directors of Smart King tnay grant certain stock-based awards upon. the
achievement of financial targets upon a Distribution Event. The total available equity awards under the
2019 Equity Incentive Plan will be as follows:
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                                          ~fi3Of)il                ~ I {),0{~f?                ~~ I,Of~ti           i
        (in ti~c~i~s~~~~cls)
                                                                                  -   ---
                                          2%                   Additional 3%                Additional 3%
Dilution
                                     (Post series B)            (Post IPO)                   (Post IPO)

        6.3       Cancellation ofLiens.

                  Except as provided otherwise in this Plan, on the Effective Date and concurrently with
the applicable distributions made pursuant to the Plan, all Liens on assets located in the United States that
secure any U.S. Secured Claim shall be fully released, settled, discharged, and compromised and all
rights, titles, and interests of any holder of such mortgages, deeds of trust, Liens, pledges, or other
security interests against any property of the Estate shall revert to the Reorganized Debtor and his



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successors and assigns, and the holder of such U.S. Secured Claim shall be authorized and directed, at the
sole cost and expense of the Reorganized DeUtot•, to release any collateral or other• property of the Debtor
(including any cash collateral and possessory collateral) held by such holder, and to take such actions as
may be reasonably requested by the Reorganized Debtor to evidence the release of such Lien, including
the execution, delivery, and filing or recording of such releases. The filing of the Confirmation Order
with any federal, state, provincial, or local agency or deparhnent shall constitute good and sufficient
evidence of, but shall not be required to effect, the termination of such Liens.

                                           ARTICLE VII
                                        PLAN DISTRIBUTIONS

        7.1     Plnn DistriGutions.

               The Debtor shall make all Plan Distributions to the appropriate holders of Allowed
Claims in accordance with the terms of this Plan.

        7.2     Allocation ofPlan Distributions Between Principal crud Interest.

                 The aggregate consideration to be distributed to the holders of Allowed Claims under the
Plan shall be treated as first satisfying an amount equal to the stated principal amount of the Allowed
Claims of such holders, as determined for federal income tax purposes, and any remaining considet•ation
as satisfying accrued, but unpaid, interest, if any.

        7.3     No Postpetition Interest on Clrcims.

                 Other than as specifically provided in the Plan, Confirmation Order, ot• other order of the
Bankruptcy Court, or required by applicable bankruptcy or non-bankruptcy law, postpetition interest shall
not accrue or be paid on any pr•epetition Claitn, and no holder of a prepetition Claim shall be entitled to
interest accruing on such. Claim on or after the Petition Date.

        7.4     Dnte ofPlun Distributions.

                 Except as otherwise provided herein, any distributions and deliveries to be made under
tl~e Plan shall be made on the Effective Date or as soon as practicable thereafter. In the event that any
payment or act under the Plan is required to be made or performed on a date that is not a Business Day,
the making of such payment or the performance of such act may be completed on the next succeeding
Business Day, but shall be deemed to have been completed as of the requited date.

        7.5     Distribution Record Date.

                 As ofthe close of business on the Distribution Record Date, the various lists of holders of
Claims in each of the Classes, as maintained by the Debtor, shall be deemed closed and there shall be no
further changes in the f•ecord holders of any of the Claims after the Distribution Record Date. The Debtor
shall have no obligation to recognize any transfer of Claims occurring after the close of business on tl~e
Distribution Record Date. The Debtor and the Reorganized Debtor•, as applicable, shall be entitled to
recognize and deal for all purposes hereunder only with those holders stated on the transfer ledgers as of
the close of business on the Distribution Record Date, to the extent applicable.

        7.6     Delivery ofPlan Dist~ibastion.

               Subject to the provisions contained in this Article VII and subject to Bankruptcy Rule
9010, the Debtor shall make all Plan Distributions or payments to any holder of an Allowed Claim as and



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when required by this Plan at:(a)the address of such holder on the books and records of the Debtor or his
agents; or (b)the address in any written notice of address change delivered to the Debtor, including any
addresses included on any filed proofs of claim or transfers of claim filed with the Bankruptcy Court. In
the event that any Plan Distribution to any holder is returned as undeliverable, no distribution or payment
to such holder shall be made unless and until the Debtor has been notified of the then current address of
such holder, at which time or as soon as reasonably practicable thereafter such Plan Distribution shall be
made to such holder without interest; p7°ovided, however, such Plan Distributions or payments shall be
deemed unclaimed property under section 347(b) of the Bankruptcy Code at the expiration of one (1) year•
fi•om the Effective Date.

         7.7     Unclaimed Property.

                Except with respect to the Trust Interests held in the Trust, one (1) year ft•om the later of:
(a)the Effective Date, and (b)the date that a Claim is first Allowed, all unclaimed property or interests in
property distributable hereunder on account of such Claim shall reveirt to the Reorganized Debtor or the
successors or assigns of the Reo~•ganized Debtor, and any claim ot• right of the holder• of such Claim to
such property or interest in property shall be discharged and forever barred. The Reorganized Debtor
shall have no obligation to attempt to locate any holder of an Allowed Claim other than by reviewing the
Debtor's books and r•ecor•ds, the proofs of Claim filed against the Debtor, as reflected on the claims
register maintained by the Voting Agent, and any change of address reflected on the docket ofthe Chapter
11 Case.

        7.8      Satisfaction of Claims.

               Unless otherwise provided herein, any Plan Distributions and deliveries to be made on
account of Allowed Claims hereunder shall be in complete settlement, satisfaction, and discharge of such
Allowed Claims.

        7.9      Manner ofPayment Under Plan.

                Except as specifically provided herein, at the option of the Reorganized Debtor, any Cash
payment to be made hereunder may be made by a check or wire transfer or as otherwise requited or
provided in applicable agreements or customary practices of the Debtor or the Reorganized Debtor.

        7.10     No Distribution in Excess ofAmount ofAllowed Claim.

                 Notwithstanding anything to the contrary herein, no holder of an Allowed Claim shall, on
account of such Allowed Claitn, receive a Plan Distribution of a value in excess of the Allowed amount of
such Claim plus any postpetition interest on such Claitn, to the extent such interest is permitted by Article
7.3 ofthis Plan.

                  To the extent any holder of an Allowed Debt Claim continues to have claims against any
other Person or Entity (other• than the Debtor or his wife Wei Gan), subject to the following proviso, such
claims will remain outstanding notwithstanding the transactions contemplated hereby; p~~ovided, however,
if on and after• the date on which the claims of any holder of an Allowed Debt Claim is paid in full in
accordance with the terms of this Plan, any such Allowed Debt Claims shall thereafter be deemed to be
and in fact, paid in full in their entirety. Furthermot•e, to the extent any holder of an Allowed Debt Claim
has security or possession of any property of• assets of the Debtor or any other Person ot• Entity, after such
Claims are paid in full, such holder• shall release and/or return any such property or assets to the Debtor or
such other Person or Entity.

                If on and after• the date on which a ho]der of an Allowed Debt Claim is paid in part in


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 accordance with the terms of this Plau, then the aggregate amount distributed to such Bolder from the
 disposition of Chinese frozen or secured assets will be equal to the proceeds received from the disposition
 of such frozen or secured assets less the pat•tial payments that lave been made to such holder through the
 Trust.

         7.11    Setoffs anal Recoupments.

                  (a)     Except as expressly provided in this Plan, tl~e Reorganized Debtor may, pursuant
 to section 553 of the Bankruptcy Code set off and/or recoup against any Plan Distributions to be made on
 account of any Allowed Claim, any and all claims, rights, and Causes of Action that such Reorganized
 Debtor may hold against the holder of such Allowed Claim to the extent such setoff or recoupment is
 either (i) agreed in amount among the relevant Reorganized Debtors) and holder of Allowed Claim or•
 (ii) otherwise adjudicated by the Bankruptcy Court or another court of competent jurisdiction; provided,
 however, that neither the failure to effectuate a setoff or recoupment nor the allowance of any Claim
 hereunder shall constitute a waiver or release by a Reorganized Debtor or its successor of any and all
 claims, rights, and Causes of Action that such. Reorganized Debtor or its successor may possess against
 the applicable holder. For the avoidance of doubt, nothing in this Plan shall affect the right of any holder
 of a Claim against the Debtor that is evidenced by a timely filed proof of claim to seek an order of the
 Bankruptcy Court authorizing such holder to set off such Claim against any claim, right, or Cause of
 Action of the Debtor• that arose prior to the Petition Date.

                (b)       In no event shall any holder• of Claims against the Debtor• be entitled to recoup
any such Claim against any claim, right, or Cause of Action of the Debtor or the Reorganized Debtor, as
applicable, unless such holder actually has performed such recoupment and provided notice thereof in
writing to the Debtor in accordance with Article 13.21 of the Plan on or before the Effective Date,
notwithstanding any indication in any proof of claim or otherwise that such holder asserts, has, or intends
to preserve any right of recoupment.

         7.12    Withholding and Reporting Requirements.

                 In connection with this Plan and all Plan Distributions hereunder, the Reorganized Debtor
shall comply with all withholding and reporting requirements imposed by any federal, state, local, oi•
foreign taxing authority, and all Plan Distributions hereunder shall be subject to any such withholding and
reporting requirements. The Reorganized Debtor shall be authorized to take any and all actions that may
be necessary or appropriate to comply with such withholding and reporting requirements, including,
without limitation, liquidating a portion of any Plan Distribution to generate sufficient funds to pay
applicable withholding taxes or establishing any other mechanisms the Debtor or Reorganized Debtor•
believe are reasonable and appropriate, including requiring a holder of a Claitn to submit appropriate tax
and withholding certifications. Notwithstanding any other provisions of this Plan: (a) each holder of an
Allowed Claitn that is to receive a Plan Distribution shall have sole and exclusive responsibility for the
satisfaction and payment of any tax obligations imposed by any governmental unit, including income,
withholding, and other• tax obligations on account of such distribution; and (b) no distribution shall be
required to be made to or• on behalf of such holder pursuant to this Plan. unless and until such holder has
made art•angements satisfactory to the Reorganized Debtor for the payment and satisfaction of such tax
obligations or has, to the Reorganized Debtor's satisfaction, established an exemption therefrom.

        7.13     Claims Paid by Third Pasties.

               (a)     Claims Paid by Third Parties. Except as otherwise provided in the Plan, the
Debtor• or Reorganized Debtor, as applicable, shall reduce in full a Claim, and such Claim shall be
Disallowed without an objection having to be filed and without any further notice to, or action, order, or



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 approval of the Bankruptcy Court, to the extent that the holder of such Claim receives payment (before ot•
 after the Effective Date) on account of such Claim fi•om a party that is not the Debtor or Reorganized
 Debtor. To the extent a holder of a Claim receives a distribution on account of such Clain and receives
 payment fi~arn a party that is not the Debtor or Reorganized Debtor' on account of such Claim, such holder•
 shall, within ten (10) days of receipt thereof, repay or return the distribution to the Debtor or Reorganized
 Debtor, to the extent t11e holder's total t~ecovet•y on account of such Claim from the thit-d patty and under
 tl~e Plan exceeds the Allowed amount of such Claim as ofthe date of any such distribution under the Plan.
 In the event such holder fails to timely repay or• return such distribution, the Debtor, tl~e Reorganized
 Debtor, or the Trustee, as applicable, may pursue any rights and remedies against such holder under
 applicable law.

                 (b)     Applicability of Insurance Policies. Except as otherwise provided in the Plan,
distributions to holders of Allowed Claims shall be in accordance with the provisions of any applicable
insurance policy. Pursuant to section 524(e) of the Bankruptcy Code, nothing contained in this Plan shall
constitute or be deemed a waiver of any Cause of Action that the Debtor, the Reorganized Debtor, or any
Entity may hold against any other Entity under any insurance policies, including against insurers, nor
shall anything contained in this Plan constitute or be deemed a waiver by such insuret•s of any defenses,
including coverage defenses, held by such insurers.

                                    ARTICLE VIII
                      PROCEDURES FOR RESOLVIi+tG DISPUTED CLAl11'IS

         8.1     OGjections to Claims; Estimation of Claims.

                  Except insofat• as a Claim is Allowed under• the Plan, the Debtor or• the Reorganized
Debtor, as applicable, shall be entitled to object to Claims. No other Entity shall be entitled to object to
Claims after the Effective Date. Any objections to Claims shall be served and filed. on or before (a)the
one-hundred eightieth (180th) day following the later of(i) the effective Date and (ii) the date that a proof
of Clailn is filed or• amended or a Claim is otherwise asserted or amended in writing by or on behalf of a
holder• of such Claim, or(b)such later date as may be fixed by the Bankruptcy Court.

                 The Reorganized Debtor may at any time request that the Bankruptcy Court estimate any
contingent or' unliquidated Claim pursuant to section 502(c) of the Bankruptcy Code, except that the
Reorganized Debtor may not request estimation of any non-contingent or liquidated Claitn if the Debtor's
objection to such Claim was previously overruled by a Final Order, and the Bankruptcy Court shall retain.
jurisdiction to estimate any Claim at any time during litigation concerning any objection to any Claim,
including, without limitation, during the pendency of any appeal relating to any such objection. In the
event that the Bankruptcy Court estimates any contingent or unliquidated Claim, the amount so estimated
shall constitute either the Allowed amount of such Claim or a maximum limitation on such Claim, as
determined by the Bankruptcy Court. If the estimated amount constitutes a maximum limitation on the
amount of such Claim, the Reorganized Debtor may pursue supplementary proceedings to object to the
allowance of such Claim. Notwithstanding section 502(j) of the Bankruptcy Code, in no event shall any
holder of a Claim that has been estimated pursuant to section 502(c) of the Bankruptcy Code or otherwise
be entitled to seek t•econsideration of such estimation unless such holder has filed a motion requesting the
right to seek such reconsideration on or before twenty-one(21) days after the date on which such Claim is
estimated. All of the aforementioned objection, estimation, and resolution procedures are intended to be
cumulative and not exclusive of one another•. Claims may be estimated and subsequently compromised,
settled, withdrawn, or resolved by any mechanism approved by the Bankt•uptcy Court.




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         8.2     Payments and Distributions nn Disputed Claims.

                If an objection to a Clailn is filed as set forth in Article 8.1, no payment or distribution
 provided under the Plan shall be made on account of such Claim unless and until such Disputed Claim
 becomes an Allowed Claim.

                 At such time as a Disputed Claim becomes an Allowed Claim or as soon as practicable
thereafter, the Debtor shall distt•ibute to the holder• of such Allowed Claim the property dist~~ibutable to
such holder pursuant to Article IV of the Plan; p~~ovided, however, that the timing of distributions to
holders of Claims in Class 3 shall be governed in all respects by Article G2 ofthe Plan. To the extent that
all or a portion of a Disputed Claim is Disallowed, the holder• of such Claim shall not receive any
distribution. on account of the portion of such Claitn that is Disallowed. Notwithstanding any other
provision of the Plan, no interest shall accrue or be Allowed on any Claim during the period after the
Petition Date, except to the extent that section 506(b) of the Bankruptcy Code permits interest to accrue
and be Allowed on such Claim.

        8.3      Preservation of Claims and Rights to Settle Claims.

                 Except as otherwise provided in the Plan, or in any contract, instrument, or other
agreement or document entered into in connection with this Plan, in accordance with section 1123(b) of
the Bankruptcy Code, the Reorganized Debtor shall retain and may enforce, sue on, settle, compromise,
otherwise resolve, discontinue, abandon, or dismiss all Claims, rights, Causes of Action, suits, and
proceedings, including those described in the Plan Supplement (collectively, the "Retained Actions"),
whether at law or in equity, whether known or unknown, that the Debtor or his Estate may hold against
any Entity (other than Claims, rights, Causes of Action, suits, and proceedings released pursuant to
Article 11.4 below), without the approval of the Bankruptcy Count, the Confirmation Order, and any
contract, instt•ument, release, indenture, or other agreement entered into in connection herewith. For the
avoidance of doubt, Retained Actions do not include any Claim or Cause of Action released pursuant to
Article 11.4 and 11.9 below. The Reorganized Debtor or his successors) may pursue such Retained
Actions, as appropriate, in accordance with the best interests of the Reorganized Debtor or his
successors)that hold such rights.

                 No Entity may rely on the absence of a specific reference in the Plan, the Plan
Supplement, or the Disclosure Statement to any Retained Action against it as any indication that the
Reorganized Debtor will not, or may not, pursue any and all available Retained Actions against it. The
Reorganized Debtor expressly reserves all rights to prosecute any and all Retained Actions against any
Entity. Unless any Retained Action against an Entity is expressly waived, relinquished, exculpated,
released, compromised, or settled in the Plan or• a Bankruptcy Court order, the Reorganized Debtor
expressly reserves all Retained Actions for later adjudication, and, therefore, no preclusion doctrine,
including the doctrines of res judicata, collateral estoppel, issue preclusion, claim preclusion, estoppel
(judicial, equitable, or• otherwise), or laches shall apply to such Retained Action upon, after•, or as
consequence of, confirmation or• consummation of the Plan. For• the avoidance of doubt, all Claims,
Causes of Action, suits, and proceedings of the Debtor that are not Retained Actions at•e waived as of the
Effective Date.




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         8.4     Expenses Incurred On or After the Effective Date.

                 Except as otherwise ordered by the Banla•uptcy Court, and subject to the written
 agreement of the Reorganized Debtor, the amount of reasonable expenses incurred by any Professional or
 the Voting Agent on or• after the Effective Date in connection with implementation ofthis Plan, including,
 without limitation, reconciliation of, objection to, and settlement of claims, shall be paid in Cash by the
 Reorganized Debtor.

                                     ARTICLE IX
                      EXECUTORY CONTRACTS A\TD U1~~XPIRED LEASES

         9.1     Assumption of Contracts anal Leases.

                 As of and subject to the occurrence of the Effective Date and the payment of any
applicable Cure Amount, all executory contracts and unexpired leases of the Debtor shall be deemed
assumed except that:(a)any executory contracts and unexpired leases that previously have been assumed
or rejected pursuant to a Final Order of the Bankruptcy Court shall be treated as provided in such Final
Order;(b)any executory contracts and unexpit•ed leases listed on the Schedule of Rejected Conh~acts and
Leases, shall be deemed rejected as of the Effective Date; and (c) all executory contracts and unexpired
leases that are the subject of a separate motion to assume or reject under section 365 of the Bankruptcy
Code pending on the Effective Date shall be treated as provided for in the Final Order resolving such
motion.

                Subject to the occurrence of the Effective Date, entry of the Confirmation Order by the
Bankruptcy Court shall constitute approval of the assumptions and rejections described in this Article 9.1
pursuant to sections 365(a) and 1123 of the Bankruptcy Code. Each executory contract and unexpired
lease assumed pursuant to this Article 91 shall revest in and be fully enforceable by the applicable
Reorganized Debtor in accordance with its terms, except as modified by the provisions of the Plan, or any
order of the Bankruptcy Court authorizing and providing for its assumption, or applicable federal law.
The pendency of any motion to assume or reject executory contracts or unexpired leases shall not prevent
or delay implementation ofthe Plan or the occurrence of the Effective Date.

                 Unless otherwise provided in the Plan, each executory contract and unexpired lease that
is assumed shall include all modifications, amendments, supplements, restatements, or other agreements
that in any manner• affect such executory contract or unexpired lease, including all easements, licenses,
permits, rights, privileges, immunities, options, rights of first refusal, and any other interests, unless any
of the foregoing agreements has been previously terminated or is otherwise not in effect. Modifications,
amendments, supplements, and restatements to prepetition executory contracts or unexpired leases that
have been executed by the Reorganized Debtor during tl~e Chapter 11 Case shall not be deemed to alter•
the prepetition nature of the executory contract or unexpired lease.

        9.2      Cl~rims Based on Rejection ofExecutory Contracts or Unexpired Leases.

                 Proofs of Claim with respect to all Claims arising from the rejection of Executory
Contracts must be filed within sixty (60) days after the later of(a) the date of entry of an order of the
Bankruptcy Court approving such rejection or (b) the Confirmation Date. Any Claims not filed within
such times shall be forever barred from assertion against the Debtor, the Reorganized Debtor, the Estate,
and the property thereof. Unless otherwise ordered by the Bankruptcy Count, all such Claims shall be
allowed in accordance with provisions of the Bankruptcy Code, including section 502(b)(6), and shall,
following their allowance and payment pursuant to the terms of the Plan, be Unimpaired and be treated as
Allowed Claims in Class 3.




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         9.3     Cure ofDefaultsfog• Assumed Executory Contrt~cts antl Unexpired Leases.

                 (a)     except to the extent that less favorable treatment has been agreed to by the non-
Debtor party ar parties to each such executory contj•act or unexpi~•ed lease to be assumed pursuant to the
Plan, any monetary defaults arising under such executory contract or unexpired lease shall be satisfied,
pursuant to section 365(b)(1) of the Bankruptcy Code, by payment of the appi•opl•iate amount (the "Cure
Amount") in full in Cash on the later of thiy~ry (30) days after: (i)the Effective Date or (ii) the date on
which any Cure Dispute relating to such Cui•e Amount has been resolved (either consensually or tlu•ough
judicial decision).

                  (b)     No later than ten (10) calendar days pt•ioi• to the commencement of the
 Confirmation Hearing, the Debtor• shall file a schedule (the "Cure Schedule") setting forth the Cure
 Amount, if any, for each executory contract and unexpired lease to be assumed pursuant to Article 9.1 of
 the Plan, and serve such Cure Schedule on each applicable counterpaz•ty. Any party that fails to object to
 the applicable Cure Amount listed on the Cure Schedule within ten (10) calendar• days of the filing
 thereof, shall be forever barred, estopped and enjoined from disputing the Cure Amount set forth on the
 Cure Schedule (including a Cute Amount of $0.00) and/or from asserting any Claim against the Debtor or•
 Reorganized Debtor arising under section 365(b)(1) of the Bankruptcy Code except as set forth on the
 Cure Schedule.

                (c)      In the event of a dispute (each, a "Cure Dispute") regarding: (i) the Cure
Amount; (ii) the ability of the applicable Reorganized Debtor to provide "adequate assurance of future
performance"(within the meaning of section 365 of the Bankruptcy Code) under the contract or lease to
be assumed; or (iii) any other matter pertaining to the proposed assumption, the cure payments required
by section 365(b)(1) of the Bankruptcy Code shall be made following the entry of a Final Order resolving
such Cure Dispute and approving the assumption in accordance with Article 93(a). To the extent a Cure
Dispute relates solely to the Cure Amount, the Debtor may assume and/or assume and assign the
applicable contract or lease prior to the resolution of the Cure Dispute provided that the Debtor t•eser•ves
Cash in an amount sufficient to pay the full amount asserted as the required cure payment by the non-
Debtor party to such contract or lease (or such smaller amount as may be fixed or estimated by the
Bankruptcy Court). To the extent the Cure Dispute is resolved or determined against the Debtor or
Reorganized Debtor, as applicable, the Debtor or Reorganized Debtor, as applicable, may reject the
applicable executory contract or unexpired lease within ten (10) Business Days after• such determination
by filing and serving upon the counterparty a notice of rejection, and the counterparty may thereafter file
a proof of claim in the manner set forth in Article 9.2 hereof.

        9.4     Insurance Policies.

                  All insurance policies pursuant to which the Debtor has any obligations in effect as of the
Effective Date shall be deemed and treated as executory contracts pursuant to the Plan and shall be
assumed by the Debtor (and assigned to the Reorganized Debtor if necessary to continue such insurance
policies in full force) pursuant to section 365 of the Bankruptcy Code and shall continue in full farce and
effect.

        9.5     Reservation ofRights.

                 Neither• the exclusion nor inclusion of any contract or lease on any exhibit to the Plan
Supplement, nor anything contained in the Plan, shall constitute an admission by the Debtor that any
agreement, contract, or lease is an executory contract or unexpired lease subject to Article IX of the Plan,
as applicable, or that the Debtor or Reorganized Debtor has any liability thereunder.




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                 The Debtor and Reorganized Debtor, as applicable, reserve the right to alter, amend,
modify, or supplement the Schedule of Rejected Contracts and Leases until and including the Effective
Date or as otherwise provided by Bankruptcy Court order; pr°ovided, however, that if there is a dispute
regarding whether a contract or lease is or was executory ot• unexpired at the time of assumption,
assumption and assignment, or with respect to the asse~~ted Cure Amount, then the Reorganized Debtor
shall have thirty (30) days following entry of a Final Order resolving such dispute to amend tl~e decision
to assume, or• assume and assign, such executory contract or unexpired lease.

        9.6      Pre-existing Obligations to Debtor Zlnrler Executory Contracts «nd Unexpired Leases

                 Rejection of any executory contract or unexpired lease pursuant to the Plan or otherwise
shall not constitute a termination of pre-existing obligations owed to the Debtor under such contracts or
leases. In particular, notwithstanding any non-bankruptcy law to the contrary, the Reorganized Debtor
expressly reserves and does not waive any right to receive, ot• any continuing obligation of a counterparty
to provide, warranties ar continued maintenance obligations on goods previously purchased by the Debtor
contracting from nnn-Debtor counterpa~~ties to rejected executory contracts or unexpired leases.

        9.7      Contacts and Leases Entered into After the Petition Date.

                Contt•acts and leases entered into after tl~e Petition Date by the Debtor in the ordinat•y
course of business or following approval put•suant to a Bankruptcy Court order, including any executory
contracts and unexpired leases assumed by the Debtor, shall be performed by the Debtor or Reorganized
Debtor, as the case may be, in the ordinary course of business. Accordingly, such contracts and leases
(including any assumed executory contracts and unexpired leases) shall sut•vive and remain unaffected by
entry ofthe Confirmation Order.

                                ARTICLE X
       CONDITIONS PRECEDENT TO CONFIRMATION AND THE EFFECTIVE DATA

        10.1     Conditions Precedent to Confirmation.

                 It shall be a condition to confirmation ofthis Plan that the following conditions shall have
been satisfied in full or waived in accordance with Article 10.3 of the Plan:

               (a)     The Disclosure Statement shall have been approved by the Bankruptcy Court as
having adequate information in accordance with section l 125 of the Bankruptcy Code; and

                (b)      The Confirmation Order shall have been entered on the docket fot• the Chapter 11
Case and be in full force and effect.

        10.2    Conditions Precedent to t/ze Effective Date.

                 The Effective Date shall not occur and the Plan shall not become effective unless and
until the following conditions have been satisfied in full or waived in accordance Article 10.3 of the Plan:

                (a)     The Confirmation Order shall have become a Final Order in full force and effect;

                (b)      The documents comprising the Plan Supplement, including the Trust Agreement,
shall, to the extent applicable, have been executed and delivered, and any conditions (other than the
occurrence of the Effective Date or certification that the Effective Date has occurred) contained therein
shall have been satisfied or waived in accordance therewith;




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                 (c)      All necessary actions, documents, certificates, and agreements necessary to
 implement the Plan on the Effective Date shall have been effected or executed and delivered to the
 required parties and, to the extent required, filed with the applicable govermnental units in accot-dance
 with applicable laws; and

                (d)      All applicable govermnental authorities shall have granted any necessary
consents and approvals required for the Debtor to emerge from chapter 1 l pursuant to the Plan and any
statutory waiting periods shall haue expired.

         10.3     Waiver of Conditiot2s Precedent.

               Each of the conditions precedent in Articles 10.1 and 10.2 of the Plan maybe waived, in
whole or in part, by the Debtor in writing, without notice to any other third parties or order of the
Bankruptcy Court or any other formal action.

         10.4     Effect ofNon-Occurrence ofthe Effective Dute.

                  If the conditions listed in Articles 10.1 and 10.2 are not satisfied or waived in accordance
with Article 103, then (a)the Confirmation Order shall be of no further force or effect;(b) the Plan shall
be null and void in all respects; (c) no distributions under• the Plan shall be made; (d)no executory
contracts or unexpired leases that were not previously assumed, assumed and assigned, or rejected shall
be deemed assumed, assumed and assigned, or• rejected by operation of the Plan; (e)the Debtor and all
holders of Claims shall be restored to the status quo ante as of the day immediately preceding the
Confirmation Date; and (~ nothing contained in the Plan or the Disclosure Statement shall (i) be deemed
to constitute a waiver• or release of(x) any Claims by any creditor or the Debtor• or(y)any Claims against
the Debtor,(ii) prejudice in any inauner the rights of the Debtor or any other Entity, or (iii) constitute an
admission, acknowledgment, offer•, or undertaking by the Debtor in any respect.

                                            ARTICLE XI
                                      AFFECT OF CONFIRMATION

         11.1     Vesting ofAssets.

                Except as otherwise provided in the Plan, as of the Effective Date, all property of the
Estate, and any property acquired by the Debtor• or Reorganized Debtor under the Plan, shall vest in the
Reorganized Debtor, free and cleat• of all Claims, liens, chat•ges, other encumbrances and interests. On
and after the Effective Date, the Debtor may use, acquire, and dispose of property and compromise or•
settle any Claims without supervision or approval by the Bankruptcy Court and free of any restrictions of
the Bankruptcy Code or Bankruptcy Rules, other than those t•estrictions expressly imposed by the Plan
and the Confirmation Order.

         11.2    Binding Effect.

                  Subject to the occurrence of the Effective Date and notwithstanding Bankruptcy Rules
3020(e), 6004(h), or 7062, on and after the Confirmation Date, the provisions of the Plan shall be
immediately effective and enforceable and deemed binding upon any holder of a Claim against the
Debtor, and such holder's respective successors and assigns,(whether or not the Claim of such holder is
Impaired under the Plan, whether or not such holder has accepted the Plan, and whether or not such
holder is entitled to a distribution under the Plan), all Entities that are party, or subject, to the settlements,
compromises, releases, discharges, and injunctions described in the Plan, each Entity acquiring property
under the Plan, and any and all. non-Debtor counterparties to executory contracts, unexpired leases, and




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 any other• prepetition agreements. All Claims shall be as fixed, adjusted, or compromised, as applicable,
 pursuant to the Plan regardless of whether any holder of a Claim or debt has voted on the Plan.

         11.3   Discharge of Claims.

                Pursuant to section 1141(d) of the Banlzruptcy Code, and except as otherwise
specifically provided in the Plan, the distributions, rights, and treatment that are provided in the
Plan will be in exchange for, and in complete satisfaction, settlement, discharge, and release of, all
Claims against the Debtor of any nature whatsoever, whether known or unknown, or against the
assets or properties of the Debtor that arose before the Effective Date. Except as expressly provided
in the Plan, on the Discharge Date (and subject to its occurrence), and pursuant to section
1141(d)(5) of the Bankruptcy Code, entry of the Confirmation Order shall be deemed to act as a
discharge and release ender section 1141(d)(1)(A) of the Bankruptcy Code of all Claims against the
Debtor and his assets, arising at any time before the Effective Date, regard}ess of whether a proof of
Claim was filed, whether the Claim is Allowed, or whether the holder of the Claim votes to accept
the Plan or is entitled to receive a distribution under the Plan; provided, however, that in no event
shall occurrence of the Discharge Date discharge the Debtor from any obligations remaining under
the Plan as of the Discharge Date. Any default by the Debtor with respect to any Claim that existed
immediately prior to or on account of the filing of the Chapter 11 Case shall be deemed cured on
the Discharge Date.

                No later than five (5) business days after the occurrence of the Discharge Date, the
Debtor or Reorganized Debtor, as applicable, shall ale with the Bankruptcy Court a notice of the
occurrence of the Discharge Date, and serve such notice on all creditors. In addition, following the
occurrence of the Discharge Date, the Debtor or Reorganized Debtor, as applicable, shall ale a
motion seeking entry of an order of discharge after notice and a hearing, which motion (and the
discharge) shall be granted upon a showing that the Debtor has made all payments required under
the Plan. Except as expressly provided in the Plan, any holder of a discharged Claim will be
precluded from asserting against the Debtor or any of his assets any other or further Claim based
on any document, instrument, act, omission, transaction, or other activity of any kind or nature
that occurred before the Effective Date. Except as expressly provided in the Plan, and subject to the
occurrence of the Discharge Date, the Confirmation Order will be a judicial determination of
discharge of all liabilities of the Debtor to the extent allowed under section 1141 of the Bankruptcy
Code, and the Debtor will not be liable for any Claims and will only have the obligations that are
specifically provided for in the Plan. Notwithstanding the foregoing, nothing contained in the Plan
or the Confirmation Order shall discharge the Debtor from any debt excepted from discharge
under section 523 of the Bankruptcy Code by a Final Order.

        11.4    Releases.

                (a)      Releases by the Debtor. Upon the Effective Date, for good and valuable
consideration, the adequacy of which is hereby confirmed, the Debtor, in his individual capacity
and as debtor in possession, shall be deemed forever to release, waive, and discharge (x) the Estate;
(y) all Persons engaged or retained by the Debtor in connection with the Chapter 11 Case
(including in connection with the preparation of and analyses relating to the Disclosure Statement
and the Plan); and (z) any and all advisors, attorneys, actuaries, financial advisors, accountants,
investment bankers, agents, professionals, and representatives of each of the foregoing Persons and
entities (whether current or former, in each case in his, her, or its capacity as such), from any and
all claims, obligations, suits, judgments, damages, demands, debts, rights, remedies, actions, Causes
of Action, and liabilities, whether for tort, fraud, contract, recharacterization, subordination,
violations of federal or state securities laws (other than the rights of the Debtor or Reorganized



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Debtor to enforce the terms of the Plan and the contracts, instruments, releases, and other
agreements or documents delivered in connection with the flan), whether liquidated or
unliquidated, fixed or contingent, matured or unmatured, known or unknown, foreseen or
unforeseen, then-existing or thereafter arising, at law, in equity, or otherwise, based in whole or in
part on any act, omission, transaction, event or other occurrence, or circumstances taking place on
or before the Effective Date, in any way relating to (i) the Debtor or the Chapter 11 Case; (ii) any
action or omission of any Released Party with respect to any indebtedness under which the Debtor
is or was a borrower or guarantor;(iii) any Released Party in any such Released Party's capacity as
an employee, or agent of, or advisor to, the Debtor;(iv) the subject matter of, or the transactions or
events giving rise to, any Claim that is treated in the Plan; (v) the business or contractual
arrangements between the Debtor and any Released Party;(vi) the restructuring of Claims before
or during the Chapter 11 Case; and (vii) the negotiation, formulation, preparation, or
dissemination of the Plan (including, for the avoidance of doubt, the Plan Supplement), the
Disclosure Statement, or related agreements, instruments, or other documents, other than claims or
liabilities arising out of or relating to any act or omission of a Released Party that is determined by
a Final Order to have constituted willful misconduct, fraud, or gross negligence. The Reorganized
Debtor shall be bound, to the same extent the Debtor is bound, by the releases and discharges set
forth above.

                 Entry of the Confirmation Order shall constitute the Bankruptcy Court's approval,
pursuant to Bankruptcy Rule 9019, of the releases described in this Article 11.4(a) by the Debtor,
which includes by reference each of the related provisions and definitions contained in this Plan,
and further, shall constitute its finding that each release described in this Article 11.4(a) is: (i) in
exchange for the good and valuable consideration provided by the Released Parties, a good faith
settlement and compromise of such Claims; (ii) in the best interests of the Debtor and all holders of
Claims; (iii) fair, equitable, and reasonable; (iv) given and made after due notice and opportunity
for hearing; and (v) a bar to any of the Releasing Parties asserting any Claim, Cause of Action, or
liability related thereto, of any kind whatsoever, against any of the Released Parties or their
property.

                 (b)      Releases by Holders of Claims and Other Entities. Upon the Effective Date,
to the maximum extent permitted by applicable law, each Releasing Party, in consideration for the
obligations of the Debtor and the Reorganized Debtor under the Plan, and the Trust Interests and
Cash and other contracts, instruments, releases, agreements, or documents to be delivered in
connection with the Plan, shall be deemed forever to release, waive, and discharge the Released
Parties from personal liability in every jurisdiction from any and all Claims, obligations, suits,
judgments, damages, demands, debts, rights, remedies, actions, Causes of Action, and liabilities
whatsoever, including any derivative Claims asserted or assertable on behalf of the Debtor, whether
for tort, fraud, contract, recharacterization, subordination, violations of federal or state secui°ities
laws or laws of any other jurisdiction or otherwise, whether liquidated or unliquidated, fixed or
contingent, matured or unmatured, known or unknown, foreseen or unforeseen, then-existing or
thereafter arising, at law, in equity, or otherwise, based in whole or in part on any act, omission,
transaction, event, or other occurrence, or circumstances taking place on ar before the Effective
Date, in any way relating to (i) the Debtor or the Chapter 11 Case;(ii) any action or omission of any
Released Party with respect to any indebtedness under which the Debtor is or was a borrower or
guarantor; (iii) any Released Party in any such Released Party's capacity as an employee, agent of,
or advisor to, the Debtor;(iv) the subject matter of, or the transactions or events giving rise to, any
Claim that is treated in the Plan;(v) the business or contractual arrangements between the Debtor
and any Released Party;(vi) the restructuring of Claims before or during the Chapter 11 Case and
the solicitation of votes with respect to the Plan; and (vii) the negotiation, formulation, preparation,
entry into, or dissemination of the Plan (including, for the avoidance of doubt, the Plan Supplement


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and all documents contained or referred to therein), the Disclosure Statement, or related
agreements, instruments, or other documents; provirle~, however, that the Releasing Parties shall
continue to dispose of the following assets through judicial authorities in the People's Republic of
China to satisfy such Releasing Party's Claim through a mechanism that will be mutually agreed to
by the parties:(x) assets that have already been collateralized by the Debtor or any other Person or
Entity;(y) assets that have already been pledged by the Debtor or any other Person or Entity; and
(z) assets or interests that the Debtor, his wife i'Vei Gan, or any other Person or Entity own that
have been seized, attached, or frozen by Chinese judiciary authorities. Notwithstanding anything
contained herein to the contrary, the foregoing release does not release any obligations of any party
under the Plan or any document, instrument, or agreement (including those set forth in the Plan
Supplement) executed to implement the Plan.

                 !'Vithin thirty (30) days of the Effective Date, each holder of a Debt Claim is
obligated to (i) withdraw or retract any litigations, enforcement actions, arbitrations, and any other
 proceedings against the Debtor and his wife ~'Vei Gan from the court or judicial authorities in all
jurisdictions, including, but not limited to, the People's Republic of China, or commit or confirm
with the judicial authorities that the Debtor or his wife ~'Vei Gan have fulfilled all their debt
obligations or legal responsibilities and (ii) ale and execute any documents requested by the Debtor
to evidence the above release. Unless and until a holder of a Debt Claim complies with the
preceding sentence and all of their obligations under the Trust Agreement,such holder shall not be
entitled to exercise any rights with respect to the Trust or receive any distributions from the Trust;
provi~lerl, however, that the Debtor reserves all rights to seek enforcement by the Chinese judicial
authorities of the rights provided herein, and the Chinese judicial authorities shall have jurisdiction
to enforce such rights.

               In connection with the releases described in this Article 11.4(b), each Releasing
Party shall waive all rights conferred by the provisions of section 1542 of the California Civil Code
and/or any similar state or federal law. Section 1542 of the California Civil Code provides as
follows: "A GENERAL RELEASE DOES NOT EXTEND TO CLAIMS ZVHICH THE
CREDITOR DOES NOT KNO~'V OR SUSPECT TO EXIST IN HIS OR HER FAVOR AT THE
TIME OF EX~CUTII~dG THE RELEASE, WHICH IF KlirO~'VN BY HIM OR HER MUST HAVE
MATERIALLY AFFECTED HIS OR HER SETTLE117~NT ~'VITH THE DEBTOR."

                  Entry of the Confirmation Order shall constitute the Bankruptcy Court's approval,
 pursuant to Bankruptcy Rule 9019, of the releases described in this Article 11.4(b), which includes
 by reference each of the related provisions and definitions contained in this Plan, and further, shall
constitute its finding that each release described in Article 11A(b) is: (i) in exchange for the good
and valuable consideration provided by the Released Parties, a good faith settlement and
compromise of such Claims; (ii) in the best interests of the Debtor and all holders of Claims;
(iii) fair, equitable, and reasonable; (iv) given and made after due notice and opportunity for
hearing; and (v) a bar to any of the Releasing Parties asserting any Claim, Cause of Action, or
liability related thereto, of any kind whatsoever, against any of the Released Parties or their
property.

        11.5   Exculpation anrC Limitation ofLiability.

               l~tone of the Debtor or Reorganized Debtor, or the direct or indirect affiliates,
employees, advisors, attorneys, financial advisors, accountants, investment bankers, agents, or
other professionals (whether current or former, in each case, in his, her, or its capacity as such) of
the Debtor or the Reorganized Debtor, or the Released Parties shall have or incur any liability to,
or be subject to any right of action by, any holder of a Claim, or any other party in interest in the



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 Chapter 11 Case, or any of their respective agents, employees, representatives, financial advisors,
 attorneys or agents acting in such capacity, or direct or indirect affiliates, or any of their successors
 or assigns, for any act or omission in connection with, relating to, or arising out of, the Chapter 11
 Case, formulation, negotiation, preparation, dissemination, confirmation, solicitation,
implementation, or administration of the Plan, the Plan Supplement and all documents contained
or referred to therein, the Disclosure Statement, any contract, instrument, release or other
agreement or document created or entered into in connection with the Plan, or any other pre- or
 postpetition act taken or omitted to be talcen in connection with or in contemplation of the
restructuring of the Debtor or confirming or consummating the Plan (including the distribution of
any property under the Plan); provi~'ed, however, that the foregoing provisions of this Article 11.5
shall have no effect on the liability of any Person or Entity that results from any such act or
omission that is determined by a Final Order to have constituted willful misconduct,fraud, or gross
negligence and shall not impact the right of any holder of a Claim, or any other party to enforce tl~e
terms of the Plan and the contracts, instruments, releases, and other agreements or documents
delivered in connection with the Plan. ~'Vithout limiting the generality of the foregoing, the Debtor
and the Debtor's direct or indirect affiliates, employees, advisors, attorneys, financial advisors,
accountants, investment bankers, agents and other professionals (whether current or former, in
each case, in his, her, or its capacity as such) shall, in all respects, be entitled to reasonably rely
upon the advice of counsel with respect to their duties and responsibilities under the Plan. The
exculpated parties have participated in good faith and in compliance with the applicable provisions
of the Bankruptcy Code with regard to the solicitation and distribution of the securities pursuant to
the Plan, and, therefore, are not, and on account of such distributions shall not be, liable at any
time for the violation of any applicable law, rule, or regulation governing the solicitation of
acceptances or rejections of the Plan or such distributions made pursuant to the Plan. This
exculpation shall be in addition to, and not in limitation of, all other releases, indemnities,
exculpations, and any other applicable law or rules protecting such exculpating parties from
liability.

        11.6   Injunction.

                (a)      General. All Persons or Entities who have held, hold, or may hold Claims
(other than Claims that are reinstated under the Plan), and all other parties in interest in the
 Chapter 11 Case, along with their respective current and former employees, agents, officers,
 directors, principals, and direct and indirect affiliates, are permanently enjoined, from and after
 the Effective Date, from, in respect of any Claim or Cause of Action released or settled hereunder,
(i) commencing, conducting, or continuing in any manner, directly or indirectly, any suit, action, or
 other proceeding of any kind (including, without limitation, any proceeding in a judicial, arbitral,
 administrative, or other forum) against the Released Parties, the Debtor, or the Reorganized
 Debtor, or in respect of any Claim or Cause of Action released or settled hereunder; (ii) enforcing,
levying, attaching, collecting, or otherwise recovering by any manner or means, whether directly or
indirectly, of any judgment, award, decree, or order against the Released Parties, the Debtor, or the
Reorganized Debtor; (iii) creating, perfecting, or enforcing in any manner, directly or indirectly,
any encumbrance of any kind against the Released Parties, the Debtor, or the Reorganized Debtor;
(iv) asserting any right of setoff, subrogation, or recoupment of any kind, against any obligation
due from the Released Parties, the Debtor, or the Reorganized Debtor, or against the property or
interests in property of the Debtor or Reorganized Debtor, on account of such Claims; or
(v) commencing or continuing in any manner any action or other proceeding of any kind on
account of, in connection with, or with respect to any such Claims released or settled pursuant to
the Plan; provirle~l, however, that nothing contained herein shall preclude such Entities from
exercising their rights pursuant to and consistent with the terms hereof and the contracts,
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 instruments, releases, and other agreements and documents delivered under or in connection with
 the Plan.

                (b)      Injunction Against Interference ~'Vith the Plan. Upon entry of the
Confirmation Order, all holders of Claims and their respective current and former employees,
agents, officers, directors, principals, and direct and indirect affiliates shall be enjoined from taking
any actions to interfere with the implementation or consummation of the Plan. Each holder of an
Allowed Claim, by accepting, or being eligible to accept, distributions under or reinstatement of
such Claim, as applicable, pursuant to the Plan, shall be deemed to have consented to the injunction
provisions set forth in this Article 11.6 of the Plan.

         11.7    Term ofBankrriptcy Injunction or Stays.

                 All injunctions or stays (excluding any injunctions or stays contained in the Plan or the
Confirmation Order) in effect in the Chapter ll Case under• sections 105 or 362 of the Bankruptcy Code,
or• any order of the Bankruptcy Cout-t or otherwise, and in existence as of the Confirmation Date, shall
remain in full force and effect until the Effective Date.

         11.8    Termination ofSuho~dination Rzg/zts and Settlement of'Relute~l Claims.

                 The classification and manner of satisfying all Claims under the Plan takes into
consideration all subordination rights, whether arising by contract or under general principles of equitable
subordination, section 510 of the Bankruptcy Code, or otherwise. All subordination rights that a holder• of
a Claim may have with respect to any distribution to be made under the Plan, shall be discharged and
terminated, and all actions related to the enforcement of such subordination rights shall be enjoined
permanently. Accordingly, distributions under• the Plan to holders of Allowed Claims shall not be subject
to payment of a beneficiary of such tef•minated subordination rights, or to levy, garnishment, attachment,
or other legal process by a beneficiary of such.terminated subordination rights.

        11.9     Wr~ive~ ofActions A~isisig Under Chapter S oftlae Bankruptcy Cotle.

                 Without limiting any other applicable provisions of, or releases contained in, this Plan,
each of the Debtor, the Reorganized Debtor, their respective successors, assigns, and representatives, and
any and all other• entities who may purport to assert any Claim or Cause of Action, directly or
derivatively, by, throughf, for, or because of the foregoing entities, hereby irrevocably and
unconditionally release, waive, and discharge any and all Claims or Causes of Action that they have, had
or may have that are based on section 544, 547, 548, 549, and 550 of the Bankruptcy Code and. analogous
non-bankruptcy law for all purposes; provided, however°, that notwithstanding this or any other provision
of the Plan, the Debtor' and Reorganized Debtor, as the case may be, retain all such Claims or Causes of
Action against any holder of a putative U.S. Secured Claim. For the avoidance of doubt, none of the
Claims or Causes of Action referenced in this Article 11.9, except as excluded herein, shall constitute
Retained Actions.

        11.10    Reservation ofRights.

                The Plan shall have no force or effect unless and until the Effective Date. Prior to the
Effective Date, none of the filing of the Plan, any statement or provision contained in the Plan, or action
taken by the Debtor with respect to the Plan, the Disclosure Statement, or the Plan Supplement shall be,
or shall be deemed to be, an admission or waiver of any rights of the Debtor or any other party, including
the Released Panties, with respect to any Claims or any other matter.




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                                           ARTICLE XII
                                   RETEIVTTION OF JURISDICTIOI~T

                 Pursuant to sections 105(c) and 1142 of the Bankruptcy Code, to the fullest extent
 permitted by  law,  and notwithstanding the entry of the Confij•tnation Order ot• the occurrence of the
 Effective Date, the Bankruptcy Court shall retain exclusive jurisdiction over any matter arising under tl~e
 Bankruptcy Code, arising in or out of, or related to, the Chapter 11 Case, the Plan, or the Confirmation
 Order, including jurisdiction to:

                (a)     Allow, disallow, determine, liquidate, classify, estunate, or establish the priority
 or secured or unsecured status of any Claim, including the resolution of any t•equest foj• payment of any
 Administrative Expense Claim and the resolution of any and all objections to the allowance or priority of
 Claims;

                 (b)     Resolve any matters related to the assumption, assumption and assignment, or
 rejection of any executory contract or unexpired lease to which the Debtor is party to or with respect to
 which the Debtor or Reorganized Debtor may be liable, and hear, determine, and, if necessary, liquidate,
 any Claims arising therefrom;

                 (c)       Determine any and all motions, adversary proceedings, applications, contested
 matters, or other litigated matters pending on the Effective Date;

                 (d)      Ensure that Plan Distributions to holders of Allowed Claims are accomplished
 pursuant to the terms of the Plan;

                (e)      Adjudicate any and all disputes arising from or relating to Plan Distt•ibutions;

               (fl    Enter, implement, or enforce such orders as may be necessary or appropriate to
impletnent or consummate the provisions of the Plan, and all contracts, instruments, releases, and other
agreements or documents created in connection with the Plan or the Confirmation Order;

                (g)      Enter, implement, or enfot•ce such orders as may be appropriate in the event the
Confirmation Order• is for any reason stayed, reversed, revoked, modified, or vacated, or distributions
pursuant to the Plan are enjoined or stayed;

              (h)      Issue injunctions, enter and implement other orders, and take such other actions
as may be necessary or• appropriate to restrain interference by any Entity with the consummation,
implementation, or enforcement of the Plan, the Confirmation. Order, or any other arder ofthe Bankruptcy
Court;

                (i)      Modify the Plan before or• after the Effective Date under section 1127 of the
Bankruptcy Code or modify the Confirmation Order, or any contract, instrument, release, or other
agreement or document created in connection with the Plan or the Confirmation Order, or remedy any
defect or omission or reconcile any inconsistency in any Bankruptcy Court order, the Plan, the Disclosure
Statement, the Confirmation Order•, or any contract, instrument, release, or other agreement or document
created in connection with the Plan or the Confirmation Order, in such manner as may be necessary or
appropriate to consummate the Plan;

               (j)     Hear and determine all applications for compensation and reimbursement of
expenses of Professionals under• sections 330, 331, and 503(b) of the Bankruptcy Code incurred prior to
the Confirmation Date;



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                  (k)     Hear and dete~~mine any rights, Claims, or Causes of Action held or reserved by,
 or accruing to, the Debtor or the Reorganized Debtor pursuant to the Bankruptcy Code, the Confirmation
 Order, or, in the case ofthe Debtor, any other applicable law;

                (1)      Enforce all orders, judgments, injunctions,                releases,   exculpations,
 indemnifications, and rulings entered in connection with the Chapter ll Case;

                  (m) Hear and determine disputes arising in connection with the interpretation,
 implementation, or enforcement of the Plan, the Confirmation Order, any transactions contemplated
 thereby, or any agreement, instt•ument, or other document governing or• relating to any of the foregoing, ot~
 the effect of the Plan under any agreement to which the Debtor, the Reorganized Debtor, or any affiliate
 thet•eof are party;

                (n)     Hear and detet•mine any issue for which the Plan or a related document requires a
 Final Order ofthe Bankruptcy Court;

                 (o)      Issue such orders as may be necessary or• appropriate to aid in execution of the
 Plan or to maintain the integrity of the Plan following consummation, to the extent authorized by section
 1142 ofthe Bankruptcy Code;

                (p)     Determine such other matters and for such other purposes as may be provided in
 the Confirmation Order;

               (q)      Hear and determine matters concerning state, local, and federal taxes in
 accordance with sections 346, 505, and 1146 ofthe Banlu•uptcy Code;

                (r)     Enter• and enforce any order for• the sale or transfer of property pursuant to
sections 363, 1123, or 1146(a) ofthe Bankruptcy Code;

                (s)       Heat• and determine all disputes involving the existence, scope, and nature of the
discharges, releases, or injunctions granted under the Plan and the Bankruptcy Code;

                (t)     Heai• and determine all disputes involving or in any manner implicating the
exculpation or indemnification provisions contained in the Plan;

              (u)     Hear and determine any matters arising under or related to sections 1141 and
1145 ofthe Bankruptcy Code;

                 (v)     Recover all assets of the Debtor and property of the Debtor's Estate, wherever
located;

                 (w)     Enter an order of discharge, upon request of the Debtor or Reorganized Debtor,
as applicable;

                 (Y)     Enter a final decree closing the Chapter 11 Case; and

                (y)      Hear and determine any other matter• not inconsistent with the Bankruptcy Code
and title 28 ofthe United States Code.
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                                           ARTICLE XIII
                                    MISCELLAI~T~OUS PROVISIONS

         13.1    Payment ofStatutory Fees.

                On the Effective Date, all fees due and payable pursuant to section 1930 of title 28 of the
U.S. Code shall be paid by the Debtor. Following the Effective Date, the Reorganized Debtor shall pay
any and all such fees when due and payable, and shall file with the Bankruptcy Court quarterly reports in
a form reasonably acceptable to the U.S. Trustee. The Debtor and Reorganized Debtor shall remain
obligated to pay quarterly fees to the Office of the U.S. Trustee until the earliest of the .Debtor's case
being closed, dismissed, or converted to a case under chapter 7 ofthe Bankruptcy Code.

         13.2    Exemption.from Securities Laws.

                 To the maximum extent provided by section 1145(a) of the Bankruptcy Code and
applicable non-bankruptcy law, the offering, issuance, or distribution of the Trust Interests, shall be
exempt from, among other things, section 5 of the Securities Act, if applicable, and from any state or
federal securities laws requiring registration for offer or sale of a security or registration or licensing of an
issuer of, underwriter of, or• broker or dealer in, a security, and otherwise enjoy all exemptions available
for distributions of securities under a plan of reorganization in accordance with all applicable law,
including without limitation section 1145 of the Bankruptcy Code.

         13.3    Exemptionfrom Certain Transfer Taxes.

                  Pursuant to section 1146(a) of the Bankruptcy Code, the transfer of title to or ownership
 of any of the Debtor's interests in any property; or' the making or delivery of any instrument of transfer in
 connection with the Plan shall. not be subject to any document recording tax, stamp tax, conveyance fee,
 intangibles or similar tax, mortgage tax, real estate transfer tax, mortgage recar~ding tax, Uniform
 Commercial Code filing or recording fee, or other similar tax or governmental assessment, and the
 Confirmation Order shall direct the appropriate state or local governmental officials or agents to forgo the
collection of any such tax or governmental assessment and to accept for filing and recordation any of the
foregoing instruments or other documents without the payment of any such tax or governmental
assessment and to accept for filing and recordation any of the foregoing instruments or other• documents
without the payment of any such tax or governmental assessment. Without limiting the foregoing, any
issuance, transfer, or• exchange of a security or any making or delivery of an instt•ument of transfer
pursuant to the Plan shall be exempt from the imposition and payment of any and all transfer taxes
(including, without limitation, any and all stamp taxes or similar taxes and any interest, penalties, and
addition to the tax that may be required to be paid in connection with the consummation of the Plan)
pursuant to sections 106, 505(a), 1141, and 1146(a) of the Bankruptcy Code. Unless the Bankruptcy
Court orders otherwise, all sales, transfers, and assignments of owned and leased property approved by
the Bankruptcy Court on or• before the Effective Date shall. be deemed to have been in furtherance of, or•
in connection with, the Plan.

        13.4    Dissolution of'Stntuto~y Committees and Cessation ofFee and Expense PaymenP.

                  On the Effective Date, any statutory committees) appointed in the Chapter• 11 Case shall
dissolve, and the members thereof shall be released and discharged from all rights and duties arising from,
or related to, the Chapter 11 Case. The Reorganized Debtor shall not be responsible for paying any fees
and expenses incurred after the Effective Date, if any, by the professionals retained by any such
committee, other than for the reasonable fees and expenses for the services authorized to be provided
pursuant to this Article 13.4.



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         13.5     Substantzal Consummation.

                 On the Discharge Date, the Plan shall be deemed to be substantially consummated under
 sections 1101 and 1127(b) of the Bankruptcy Code.

         13.6     Expedited Determination ofPostpetition Taxes.

                  The Reorganized Debtor shall be authorized to request an expedited determination under
 section 505(b) of the Bankruptcy Code for all tax returns filed for•, or on behalf of, the Debtor for any and
 all taxable periods ending after the Petition Date through, and including, the Effective Date.

         13.7     Mo~lificatzon and Amendments.

                 Subject to the requirements of section 1127 of the Bankruptcy Code, Rule 3019 of the
Federal Rules of Bankruptcy Procedure, and, to the extent applicable, sections 1122, 1123, and 1125 of
the Bankruptcy Code, the Debtor may alter, amend, or modify the Plan at any time prior• to the Effective
Date. Holders of Claims that have accepted the Plan shall be deemed to have accepted the Plan, as
altered, amended, or modified, if the proposed alteration, amendment, or modification complies with the
requirements of this Article 13.7 and does not materially and adversely change the treatment of the Claim
of such holder; provided, howevef•, that any holders of that were deemed to accept the Plan because such
Claims were Unimpaired shall continue to be deemed to accept the Plan only if, after giving effect to such
amendment or modification, such Claims continue to be Unimpaired.

                 Entry of a Confirmation Order shall mean that all modifications or amendments to the
Plan since the solicitation thereof are approved pursuant to section 1127(a) of the Bankruptcy Code and
do not require additional. disclosure or resolicitation under Bankruptcy Rule 3019.

         13.8    Additional Documents.

                On or before the Effective Date, the Debtor may enter into any agreements and other
documents as may be necessary or appt•opriate to effectuate and fut~ther evidence the terms and conditions
of the Plan. The Debtor or Reorganized Debtor, as applicable, and all holders of Claims receiving Plan
Distributions and all other parties in interest may, from time to time, prepare, execute, and deliver any
agreements or documents and take any other actions as may be necessary or' advisable to effectuate the
provisions and intent of the Plan.

        13.9     Effectuating Documents and Further Transactions.

                  On and after the Effective Date, the Reorganized Debtor is authorized to execute, deliver,
file, or• record such contracts, instruments, releases, indentures, and other ag1•eements or documents and
take such actions as may be necessary or appropriate to effectuate and further evidence the terms and
conditions of the Plan, without the need for• any approvals, authorizations, or• consents, except for those
expressly required pursuant to the Plan.

        13.10 .Plan Supplement.

                  All exhibits and documents included in the Plan Supplement ar•e incorporated into, and
are a part of, the Plan as if set forth in full in the Plan, and any reference to the Plan shall mean the Plan
and the Plan Supplement. Upon its filing, the Plan Supplement may be inspected in the office of the clerk
of the Bankruptcy Court or its designee during normal business hours, at the Bankruptcy Court's website
at www.deb.uscourts.gov, and at the website of the Voting Agent at https://dm.epigll.com/YT1. The
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 documents contained in the Plan Supplement are an integral part of the Plan and shall be deemed
 approved by the Bankruptcy Court pursuant to the Confirmation Order.

         13.11   Etztire Agreement.

                 Except as otherwise indicated, the Plan and the Plan Supplement supersede all previous
 and contemporaneous negotiations, promises, covenants, agreements, understandings, and representations
 on such subjects, all of which have become merged and integrated into the Plan.

         1.3.12 Revocation or Witlarlrawal oftlae Phan.

                The Debtor reserves the right to revoke or withdraw the Plan at any time prior to the
Effective Date. If the Debtor takes such action, the Plan shall be deemed null and void in its entirety and
of no force or effect, and any settlement or cotnpromise embodied in the Plan (including the fixing or
limiting to an amount certain of any Claim or Class of Claims), assumption of executory contracts or
unexpired leases effected under the Plan, and any document or agreement executed pursuant to the Plan,
shall be deemed null and void. In such event, nothing contained in the Plan shall (a) constitute or be
deemed to be a waiver or release of any Claim against the Debtor or any other Entity;(b) prejudice in any
manner the rights of the Debtor or any Entity in further proceedings involving the Debtor; or
(c)constitute an admission, acknowledgement, offer, or undertaking of any sort by the Debtor or any
other Entity.

         ].3.13 Severability.

                 If, prior to the entry of the Confirmation Order, any term or provision of the Plan is held
by the Bankruptcy Court to be invalid, void, or unenforceable, at the request of tl~e Debtor, the
Bankruptcy Court shall have the power to alter and interpret such term or• provision to make it valid or
enforceable to the maximum extent practicable, consistent with the original purpose of the term or
provision held to be invalid, void, or unenforceable, and such term or provision shall then be applicable as
altered or interpreted. Notwithstanding any such holding, alteration, or interpretation, the remainder of
the terms and provisions of the Plan shall remain in full force and effect and shall in no way be affected,
impaired, or invalidated by such holding, alteration, or interpretation. The Confirmation Order shall
constitute a judicial determination and shall provide that each term and provision of the Plan, as it may
have been altered. or interpreted in accordance with the foregoing, is (a) valid and enforceable pursuant to
its terms;(b)integral to the Plan; and (c) non-severable and mutually dependent.

        13.14 Solicitatiota.

                  Upon entry of the Confirmation Order, the Debtor shall be deemed to have solicited
acceptances of the Plan in good faith and in compliance with. the applicable provisions of the Bankruptcy
Code, including, without limitation, sections 1125(e) and (g) of the Bankruptcy Code, and any applicable
non-bankruptcy law, rule, or regulation governing the adequacy of disclosure in connection with such
solicitation. The Debtor, the Reorganized Debtor, and each of their respective employees, agents,
representatives, advisors, attorneys, accountants, and professionals shall be deemed to have participated in
good faith and in compliance with the applicable provisions of the Bankruptcy Code in the offer,
issuance, sale, and purchase of any securities offered or sold under the Plan, and therefore, are not, and on
account of such offer, issuance, sale, solicitation, or• purchase shall not be, liable at any time for the
violation of any applicable law, rule, or regulation governing the solicitation of acceptances or rejections
of the Plan oi• the offer, issuance, sale, or purchase of any securities offered or sold under the Plan.




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         13.15   Governing Law.

                  Unless a rule of law or procedure is supplied by federal law (including the Banl~~uptcy
 Code and the Bankruptcy Rules) or unless otherwise specifically stated, the laws of the State of New
 York, without giving effect to the principles of conflict of laws (other than section 5-1401 and section 5-
 1402 of the New York General Obligations Law), shall govern the rights, obligations, construction, and
 implementation of the Plan, and any agreements, documents, instruments, or contracts executed or
 entered into in connection with the Plan (except as otherwise set forth in those agreements, in which case
 the governing law of such agreement shall control).

         13.16   Compliance with Tax Requirements.

                  In connection with the Plan and all instruments issued in connection herewith and
distributed hereunder, any Entity issuing any instruments or making any distribution under the Plan shall
comply with all applicable withholding and reporting requirements imposed by any federal, state, local, or
foreign taxing authority, and all distributions under• the Plan shall be subject to any such withholding or
reporting requirements. Any Entity issuing any instt•uments or making any distribution under the Plan to
a holder of an Allowed Claim has the right, but not the obligation, not to make a distribution until such
holder• has provided to such Entity the information necessary to comply with any withholding
requirements of any such taxing authority, and any required withholdings (determined after taking into
account all information provided by such holder• pursuant to this Article 13.16) shall reduce the
distribution to such holder.

        13.17 Successors and Assigns

                   The rights, benefits, and obligations of any Entity named or referred to in the Plan shall
be binding on, and shall inure to the benefit of, any heir, executor, administrator, successor or assign,
affiliate, officer, director, agent, representative, attorney, beneficiary, or guardian, if any, of each Entity.

        13.18    Closing of Chapter II Case.

                The Reorganized Debtor shall, as promptly as practicable after the full administration of
the Chapter 11 Case, file with the Bankruptcy Count all documents required by Bankruptcy Rule 3022,
Del. Bankr. L.R. 3022-1, and any applicable order of the Bankruptcy Court to close the Chapter ll Case.

        13.19 Document Retention.

              On and after the Effective Date, the Reorganized Debtor may maintain documents in
accordance with his current document retention policy, as may be altered, amended, modified, or
supplemented by the Reorganized Debtor without order ofthe Bankruptcy Court.

        13.20    Conflicts.

                In the event of any conflict between the terms and provisions in the Plan (without
reference to the Plan Supplement) and the terms and provisions in the Disclosure Statement, the Plan
Supplement, any other instrument or~ document created or executed pursuant to the Plan, or any order
(other than the Confirmation Ot•der) referenced in the Plan (or any exhibits, schedules, appendices,
supplements, or• amendments to any of the foregoing), the Plan (without reference to the Plan
Supplement) shall govern and control; pYovided, however°, that in the event of a conflict between the
Confirmation Order, on the one hand, and the Plan or the Plan Supplement, on the other hand, the
Confirmation Order shall govern and control in all respects.
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         13.21   Service ofDocuments.

                  After the Effective Date, any pleading, notice, or other document required by the Plan to
 be served on ar' delivered to:

                 the Debtor or the Reorganized Debtor, shall be served on:

                           PACHULSKI STANG ZIEHL &JONES LLP
                           919 North Market Street
                           17th Floor
                           Wilmington, Delaware 19801
                           Attn: James E. O'Neill
                           email:joneill@pszjlaw.com

                           -and-

                           PACHULSKI STANG ZIEHL &JONES LLP
                           10100 Santa Monica Blvd., 13t'' Floor
                           Los Angeles, California 90067
                           Attn: Richard M. Pachulski; Jeffrey W. Dulberg; Malhar S. Pagay
                           Email: rpachulski@pszjlaw.com;jdulbeig@pszjlaw.com;
                           mpagay@pszjlaw.com

                          -and-

                          O'Melveny &Myers LLP
                          Times Square Tower'
                          Seven Times Square
                          New York, New York 10036
                          Attn: Suzzanne Uhland; Diana Perez
                          Email: sul~land@omm.com; dperez@oimn.com

                After the Effective Date, the Reorganized Debtor shall be authorized to limit the list of
Entities receiving documents pursuant to Bankruptcy Rule 2002 to those Entities who have filed a
renewed request to receive documents pursuant to Bankruptcy Rule 2002.




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         13.22 Deemed Acts.

                  Whenever• an act or event is expressed under the Plan to have been deemed done or to
 have occurred, it shall be deetned to have been done or to have occurred without any further act Uy any
 party, by virtue of the Plan and the Confirmation Order.

         13.23    Waiver or Estoppel.

                  Each holder of a Claim shall be deemed to have waived any right to assert any argument,
 including tl~e right to argue that its Claim should be Allowed in a certain aYnount, in a certain priority,
 secured, or not subordinated by virtue of an agreement made with the Debtor or its counsel or any other•
 Entity, if such agreement was not disclosed in the Plan, the Disclosure Statement, or• papers filed with the
 Bankruptcy Court prior to the Confirmation Date.




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